EXHIBIT 1
     Case: 1:13-dp-20140-JJH Doc #: 51 Filed: 09/09/21 1 of 6. PageID #: 1174




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                             WESTERN DIVISION


ANDREA K. DRAKE, et al.,                       Case No. 1:13-dp-20140

      Plaintiffs

v.

DEPUY ORTHOPAEDICS, INC.,
et al.,

      Defendants.

                                    -and-


STEVEN M. JOHNSON,                             Case No. 1:17-dp-20085

      Petitioner

v.

WILLIAM SCOTT DRAKE,

      Respondent.


     STEVEN M. JOHNSON’S RENEWED APPLICATION ON REMAND FOR
         ORDER CONFIRMING DOMESTIC ARBITRATION AWARD

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

      Steven M. Johnson d/b/a The Johnson Law Firm (“Johnson”), Interested Party in

Case No. 1:13-dp-20140 (the “Ohio Case”) and Petitioner in Case No. 1:17-dp-20085

(the “Transferred Case”) (the appeals from both cases consolidated for briefing and

submission to the United States Sixth Circuit Court of Appeals in Cases No. 19-4074 and



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     Case: 1:13-dp-20140-JJH Doc #: 51 Filed: 09/09/21 2 of 6. PageID #: 1175




19-4075, the “Consolidated Appeals”), renews on remand his pre-appeal application for

an order confirming the “Corrected Final Award” received in a domestic arbitration in

these matters.

                                  A.    BACKGROUND

       1.        These proceedings arise from a common-law fee dispute between a law

firm and a former client that resulted in an award pursuant to mandatory arbitration

provisions contained in the parties’ Attorney Representation Agreement. See Ex. A, Ohio

Case 1, Doc. 7-3 (“Attorney Representation Agreement”); Ex. B, Ohio Case, Doc. 10-3

(“Corrected Final Award”). After the award was entered in favor of Johnson, Johnson

applied for an order confirming the award in the United States District Court for the

Northern District of Texas, Dallas Division. See Transferred Case, Doc. 1. That court sua

sponte transferred that proceeding to this Court, see Transferred Case, Doc. 51 (“Order”),

where Drake pursued an order seeking to vacate the same award by way of a separate

proceeding, see Ohio Case, Doc. 7 (“Motion to Enforce Master Settlement Agreement

and to Vacate Arbitration Award”).

       2.        This Court entered an order in the Ohio Case vacating, and declining to

confirm, the arbitration award. See Ex. C, Ohio Case, Doc. 36. And relying on that order

this Court also entered a parallel order in the Transferred Case declining to confirm, and

instead vacating, the same award. See Ex. D, Transferred Case, Doc. 54.


1
 Reference to documents filed in Case 1:13-dp-20140 will be indicated by “Ohio Case,
Doc. __”; and reference to documents filed in Case 1:17-dp-20085 will be indicated by
“Transferred Case, Doc. __.” The same convention will be used in referring to the
appellate dockets by their appellate docket numbers, e.g., “19-4074, Doc. __ at __.”

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     Case: 1:13-dp-20140-JJH Doc #: 51 Filed: 09/09/21 3 of 6. PageID #: 1176




       3.     Johnson appealed both orders in two separate proceedings before the

United States Sixth Circuit Court of Appeals and they were docketed as Case 19-4074

(the appeal from the order in the Ohio Case) and Case 19-4075 (the appeal from the order

in the Transferred Case). After the Sixth Circuit consolidated the appeals for briefing and

submission, it issued its opinion reversing this Court’s orders in both the Ohio Case and

the Transferred Case. See Ex. E (In re DePuy Orthopaedics, Inc. ASR Hip Implant

Products Liability Litig., 838 Fed.Appx. 922, 931 (6th Cir. Dec. 15, 2020)). The operative

language of the opinion stated:

               “The district courts orders denying confirmation and vacating the
       arbitration award in Johnson’s favor are REVERSED and the cases are
       REMANDED for further proceedings consistent with this opinion.”

Id. The Sixth Circuit denied Drake’s petition for rehearing en banc on January 20, 2021.

19-4074, Doc. # 38-1. On February 1, 2021, the Sixth Circuit issued its mandate. 19-

4074, Doc. # 39. Drake did not seek Supreme Court review.

                     B.     ARGUMENTS AND AUTHORITIES

       4.     By this Application, Johnson seeks orders from this Court that give effect

to the Sixth Circuit’s instructions on remand upon its reversal of this Court’s dispositive

rulings in the Ohio Case and the Transferred Case. Specifically, Johnson seeks orders

granting his application for confirmation of the Corrected Final Award and a

corresponding order overruling Drake’s motion to vacate that award. The Sixth Circuit’s

ruling in the consolidated appeals warrants the entry of the requested orders.

       5.     The Corrected Final Award rendered by Judge Ashworth was a final,

binding arbitration award, without defect under the law. After entry of an arbitration


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     Case: 1:13-dp-20140-JJH Doc #: 51 Filed: 09/09/21 4 of 6. PageID #: 1177




award, on application for confirmation, a federal court has limited options under 9 U.S.C.

§ 9: the court must confirm the award unless the award is vacated, modified, or corrected.

See 9 U.S.C. § 9; Hall Street Assocs., L.L.C. v. Mattel, Inc., 552 U.S. 576, 584 (2008);

see also PolyOne Corp. v. Westlake Vinyls, Inc., 937 F.3d 692, 696 (6t Cir. 2019) (citing

Hall Street Assocs.). Here, Drake “abandoned his argument for vacatur based on

partiality,” 838 Fed.Appx. at 927 and did not otherwise seek to modify or correct the

award. Instead, Drake only sought to vacate the award “on the grounds that the initial

agreement to arbitrate was amended, modified, or otherwise superseded…” Id. at 924.

The Sixth Circuit rejected that argument. Id. at 931 (“It was error in this case to find that

the parties’ express agreement under the [Attorney Representation Agreement]

subsequently amended, modified or otherwise superseded by the arbitration proceeding

of the [Master Settlement Agreement in the multi-district litigation].”). Accordingly, it

reversed this Court’s ruling granting vacatur and declining to confirm the Corrected Final

Award. In re Depuy, 838 Fed.Appx. at 931.

       6.     By reversing this Court’s orders vacating the award and denying

confirmation, the Sixth Circuit left this Court with only one option on remand. This Court

has been instructed by the Sixth Circuit that its order refusing to confirm the confirmation

award was erroneous and directed this Court on remand to proceed consistent with that

determination. Thus, this Court has been instructed to enter an order confirming the

Corrected Final Award in the Transferred Case and deny the motion to vacate the award

brought in the Ohio Case.




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     Case: 1:13-dp-20140-JJH Doc #: 51 Filed: 09/09/21 5 of 6. PageID #: 1178




                                   C.     EXHIBITS

      7.     The following exhibits are attached hereto in support of this Application.

             Exhibit A     Ohio Case, Doc. 7-3 (“Attorney Representation Agreement”)

             Exhibit B     Ohio Case, Doc. 10-3 (“Corrected Final Award”)

             Exhibit C     Ohio Case, Doc. 36 (“[formal name]”)

             Exhibit D     Transferred Case, Doc. 54 (“[formal name]”)

             Exhibit E     In re Depuy Orthopaedics, Inc., ASR Hip Implant Products
                           Liability Litig., 838 Fed.Appx 922 (6th Cir. Dec. 15, 2020).


                            D.     PRAYER FOR RELIEF

      8.     In light of the Sixth Circuit’s ruling reversing this Court’s orders vacating

and refusing to confirm the Corrected Final Award, Johnson prays that this Court issue an

order confirming the Corrected Final Award in Johnson’s favor against Drake, denying

Drake’s motion to vacate the same, and that this Court let execution issue under the same.

                                         Respectfully submitted,

                                         /s/ Michael S. Truesdale
                                         Michael S. Truesdale – LEAD COUNSEL
                                         mtruesdale@enochkever.com
                                         Marla D. Broaddus
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                                         Building B, Suite 200
                                         Austin, Texas 78731
                                         Telephone: (512) 615-1200
                                         Telecopier: (512) 615-1198

                                         Attorneys for Interested Party/Petitioner,
                                         Steven M. Johnson


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     Case: 1:13-dp-20140-JJH Doc #: 51 Filed: 09/09/21 6 of 6. PageID #: 1179




                             CERTIFICATE OF SERVICE

       I hereby certify that on the 9th day of September, 2021, the foregoing document
was electronically filed with the clerk of the court for the U.S. District Court, Northern
District of Ohio, using the court’s electronic case filing system. The electronic case filing
system sent a “Notice of Electronic Filing” to the attorneys of record.

                                          /s/ Michael S. Truesdale
                                          Michael S. Truesdale




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Case:
 Case:1:13-dp-20140-JJH
        1:13-dp-20140-JJHDoc
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                                  7-3 Filed:
                                      Filed: 09/09/21
                                              06/22/16 11of
                                                          of2.
                                                             2. PageID
                                                                PageID#:
                                                                       #:1180
                                                                          63




                                EXHIBIT A-1
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 Case:1:13-dp-20140-JJH
        1:13-dp-20140-JJHDoc
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                                                             2. PageID
                                                                PageID#:
                                                                       #:1181
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                                EXHIBIT A-2
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     Case:1:13-dp-20140-JJH
           1:13-dp-20140-JJH Doc
                             Doc#:
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                                         Filed: 09/09/21
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                                    JAMS ARBITRATION



STEVEN M. JOHNSON,

                      Claimant,                         REFERENCE No, 1310021509
V.

WILLIAM DRAKE,

                      Respondent.




                               CORRECTED FINAL AWARD


Parties and Counsel: The parties are identified in the caption and represented as follows:

                             Barry Johnson
                             Thomas R. Needham
                             3116W. Fifth St.
                             Suite 107
                             Fort Worth, TX 76107
                             Phone: 817-523-1330; Fax: 469-248-0602
                             Email: johnsonneedhamlawgmail.com
                             Counsel for Claimant
                             Jennifer Morris Andrews
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                             Suite 303
                             Fort Worth, TX 76102
                             Phone: 817-338-1707; Fax: 817-338-1787
                                     j.andrews@wallach-law.com
                             Co-Counsel for Claimant
                             Anthony Nemo
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                             1616 Park Avenue
                             Minneapolis, MN 55404
                             Phone: 612-339-9121; Fax: 612-339-9188
                             Email: tnemo@meshbesher.com; arasoa,meshbesher.com;
                                    adavick@meshbesher.com
                             Counsel for Respondent
                                                                                       EXHIBIT

                                         Page 1 of 18
                                          EXHIBIT B-1
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     Case:1:13-dp-20140-JJH
           1:13-dp-20140-JJH Doc
                             Doc#:
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                                         Filed: 09/09/21
                                                 07/25/16 22of
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                                                                20. PageID
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                                Karin Cagle
                                1619 Pennsylvania Ave.
                                Fort Worth, TX 76104
                                Phone: 817-721-5127; Fax: 817-335-7735
                                Email: keaglelaw@grnail.com
                                Co-Counsel for Respondent

Arbitrator:                     Hon. Glen M. Ashworth
                                JAMS — The Resolution Experts
                                8401 N. Central Expressway, Suite 610
                                Dallas, Texas 75225
                                Phone: 214-744-5267; Fax: 214-720-6010

Case Manager:                  Carolina El'Azar
                               JAMS — The Resolution Experts
                               8401 N. Central Expressway, Suite 610
                               Dallas, Texas 75225
                               Email: celazargamsadr.com
                               Phone: 214-891-4520; Fax: 214-720-6010


        Pursuant to the arbitration provisions contained in paragraphs 13-15 of their Attorney

Representation Agreement — DePuy ASR Hip Device ("ARA"), signed by Respondent, William

Drake ("Drake"), on January 24, 2012, and Claimant, Steven M. Johnson ("Johnson" and also

referred to as the Johnson Law Firm or "JLF") on January 30, 2012, the parties have submitted to

binding arbitration before Hon. Glen M. Ashworth, serving as their sole Arbitrator. The

arbitration was convened in Dallas, Texas, beginning April 4, 2016. The parties proceeded to

present their offers of proof, including statements of counsel, testimony of fact and expert

witnesses, depositions and documentary evidence. Thereafter, the parties submitted post-

arbitration briefing for consideration.

       The Arbitrator has determined that all matters in controversy submitted to this tribunal

are arbitrable and that proper jurisdiction exists. All issues have been determined by the

evidence presented during the full arbitration. The standard of proof is based on a preponderance

of the evidence, unless otherwise stated.

                                            Page 2 of 18
                                             EXHIBIT B-2
     Case:
     Case:1:13-dp-20140-JJH
           1:13-dp-20140-JJH Doc
                             Doc#:
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                                         Filed: 09/09/21
                                                 07/25/16 33of
                                                             of20.
                                                                20. PageID
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                          CLAIMANT'S MOTION TO CORRECT



       The Final Award in this matter (JAMS Ref. No. 1310021509) was signed and service

perfected on June 22, 2016. On June 28, 2016, the Claimant filed "Claimant Steven M.

Johnson's Motion to Correct Final Award Pursuant to JAMS Rules 24 (d) and (j)." Claimant's

Motion seeks to amend the Final Award to include additional procedural findings and to correct

a typographical error.

       The JAMS rules, and specifically Rule 24, neither provide for nor allow post-award

modifications or amendments. Accordingly, the Arbitrator declines to address this request.

       The Arbitrator does find, however, that a typographical error does exist in the Final

Award, page 14, last sentence of first paragraph of Section G: "Attorneys' Fees" in the following

respect: the term "ADA" should be properly corrected to "ARA".

       Pursuant to JAMS Rule 24 (j), Claimant has timely requested this typographical

correction and Respondent has raised no timely objection to this change. This requested

correction is therefore GRANTED and is changed in the body of the Corrected Final Award.



                                 PROCEDURAL HISTORY



       This arbitration arises from an attorney fee collection suit brought by Steven Johnson,

whose primary law office is located in Ft. Worth, Texas, against his former client, William

Drake, a resident of Minnesota. Pursuant to their Attorney Representation Agreement, Drake

agreed to pay a contingent fee of 40% of amounts recovered from Drake's DePuy hip

replacement device claims. Johnson's representation was subsequently terminated by Drake.



                                          Page 3 of 18
                                           EXHIBIT B-3
     Case:
     Case:1:13-dp-20140-JJH
           1:13-dp-20140-JJH Doc
                             Doc#:
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                                                 07/25/16 44of
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                                                                20. PageID
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                                                                           #:1185
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 Following a settlement of Mr. Drake's claims, Johnson seeks payment of his contingency fee.

        On July 31, 2014, Johnson initiated this arbitration with the Dallas office of JAMS, Ref.

No. 1310021501, and served a Demand on Drake (the "Dallas JAMS arbitration"). The

following day, Johnson filed an Original Complaint to Compel Arbitration in the Northern

District of Texas, Ft. Worth Division, Cause No. 4:14-CV-611 (the "Ft. Worth suit"). The Ft.

Worth suit was subsequently dismissed by the Judge, Hon. John McBryde, for lack of in

personam jurisdiction in a Memorandum Opinion and Order dated November 25, 2014.

        On August 15, 2014, Drake entered an appearance in the Dallas JAMS arbitration by

filing a Response to Arbitration Demand and Statement of Affirmative Defenses. Respondent

also challenged jurisdiction based on the lack of in personam jurisdiction finding and dismissal

of the Ft. Worth suit. The arbitration was formally commenced on August 27, 2014. Following

commencement, the parties jointly participated in the arbitrator selection process and selected

Hon. Glen M. Ashworth as their sole arbitrator.

        Pursuant to an Interim Order, dated January 20, 2015, the Arbitrator found jurisdiction to

arbitrate existed and that the issues were arbitrable. The Arbitrator thereafter established

discovery deadlines contained in Scheduling Order No. 1, dated January 30, 2015. Following a

request for rehearing and citing waiver through Respondent's full participation in the arbitration

process, jurisdiction was confirmed in an Interim Order, dated February 23, 2015. In accordance

with the Scheduling Order, the parties jointly engaged in the established discovery and pre-

arbitration preparation.

       By agreement of the parties and for purposes of settlement discussions, the original

hearing date of July 16-17, 2015, was continued. Thereafter, by Scheduling Order No. 2, dated

November 23, 2015, the matter was set for hearing on April 4, 2016.



                                          Page 4 of 18
                                           EXHIBIT B-4
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    Case:1:13-dp-20140-JJH
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                                                07/25/16 55of
                                                            of20.
                                                               20. PageID
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                                                                          #:1186
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        In early 2016, Drake sought to invoke the MDL arbitration process and Special Master

Yanni issued her Scheduling Order No. I in JAMS Ref. No. 1200048059 on February 16, 2016

("JAMS MDL arbitration"). In response, Johnson filed a Petition to Compel Arbitration in the

Northern District of Texas, Dallas Division, Cause No. 3:16-CV-0094-D on February 22, 2016

(the "Dallas suit"). On March 9, 2016, Special Master Yanni issued Order No. 2: Jurisdiction,

in the JAMS MDL arbitration, and concluded she did not have jurisdiction over the matter and

withdrew her Scheduling Order No. 1. Accordingly, Johnson filed a Notice of Voluntary

Nonsuit in the Dallas suit on March 11, 2016.

        The arbitration hearing was then begun on April 4, 2016, in Dallas, Texas.



                                       BACKGROUND



       Claimant, Steven M. Johnson, is an attorney whose principal office is located in Ft.

Worth, Texas. For the last 20 years, his practice has been primarily devoted to the areas of mass

tort and Multi District litigation ("MDL"). Having done extensive research and investigation

into the defects regarding the DePuy ASR hip replacement device ("DePuy hip device" or

"device"), he began to promote his legal services for the prosecution of those related cases. In

soliciting for those claims, he utilized the national newspaper media, as well as websites and

seminars. He did not use a television campaign.

       Respondent, William Drake, is a resident of Minnesota. He is a college graduate and

successful businessman. On April 19 and May 31, 2007, Drake was implanted with left and

right DePuy hip devices. Although not experiencing medical issues with the devices at the time,

someone on his behalf contacted Johnson's office by phone on September 27, 2010, and



                                          Page 5 of 18
                                          EXHIBIT B-5
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     Case:1:13-dp-20140-JJH
           1:13-dp-20140-JJH Doc
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                                                 07/25/16 66of
                                                             of20.
                                                                20. PageID
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                                                                           #:1187
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 requested information regarding representation. Between September 28, 2010 and January 19,

2012, JLF contacted Drake through calls and letters 57 times. According to the JLF call notes,

most of the calls resulted in voice messages. Several calls, however, were received directly by

Drake or his wife, Andrea Drake, including an October 18, 2010 call between Drake and

Johnson. Additionally during this time, JLF also provided Drake with an information packet, a

proposed Attorney Representation Agreement and medical authorization, medical and legal

updates and articles, a list of frequently asked questions and an informative video. While

Respondent and his wife expressed interest in Johnson's representation, Drake testified that he

did not read any of the material. Following 6 months of no direct contact from Drake, Johnson

sent him a final letter on January 19, 2012, which stated that "Failing to contact us may result in

the closing of your file and the loss of your rights."

       On January 24, 2012, without ever personally meeting Johnson and according to Drake,

without reading the documents, Respondent signed and initialed the ARA and medical

authorization. Johnson signed the contract on January 30, 2012. On March 9, 2012, Johnson

forwarded Drake a letter which accepted the representation and included instructions regarding

the updating of his medical condition and revision surgeries. The letter also contained phone

numbers to reach Johnson and his staff for any questions related to his case. Subsequently,

Johnson put the DePuy manufacturer on notice of Drake's claims on March 12, 2012, and

thereafter obtained his medical records.

       Following notification to DePuy and obtaining Drake's medical records, there was

limited attorney/client communication between April through October, 2012. Essentially, the

next phase of the case was subject to the timing of the revision surgeries. Although Drake claims

he and his wife made several phone calls to JLF requesting updates, the call notes do not reflect



                                           Page 6 of 18
                                            EXHIBIT B-6
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     Case:1:13-dp-20140-JJH
           1:13-dp-20140-JJH Doc
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                                         Filed: 09/09/21
                                                 07/25/16 77of
                                                             of20.
                                                                20. PageID
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                                                                           #:1188
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 such inquiries. Significantly, the call notes do reflect and Mrs. Drake acknowledged that she

 called JLF on November 28, 2012. During this call, she advised that "Drake was having revision

 surgery on December 17, but would not give further information because she wasn't sure if they

would leave the case with JLF or move it to a friend, who was an attorney."

        On November 29, 2012, Respondent signed a Substitution of Attorneys document hiring

Charles H. Johnson, a Minnesota attorney, to represent him in his DePuy claims. The following

day, Charles Johnson forwarded a letter to Steven Johnson advising him of the substitution and

enclosed a copy of the document. In his letter, Charles Johnson explained the basis for the

termination and substitution was due to his "ongoing professional relationship with Mr. Drake's

family" and that "they wanted a local attorney who they could actually meet with in person." In

that letter, he additionally requested a copy of the file from JLF. Finally, on December 5, 2012,

Drake called JLF and spoke to an assistant, Rudy Villareal. The conversation was reflected in

the call notes and Drake advised that "Chuck Johnson who is local and a big hitter would be

taking over the case." Although Drake was reminded of the ARA, he nonetheless indicated

Charles Johnson was going to handle the case and "is going to work something out with Steven

Johnson." Drake had his left hip revision on December 17, 2012.

       On January 10, 2013, Charles Johnson again requested the file and it was subsequently

forwarded to him on January 17, 2013. In the interim, Drake terminated his attorney/client

relationship with Charles Johnson on January 14, 2013, and hired the Minnesota law firm of

Meshbesher & Spence, Ltd. ("Meshbesher"). JLF put Meshbesher, through its partner, Tony

Nemo, on notice of his attorney contract lien of 40% of the full recovery, plus expenses, on

March 24, 2013. Subsequently, on June 30, 2014, Nemo responded to Johnson and disputed his

claim and denied his entitlement to "any portion of the settlement.



                                           Page 7 of 18
                                            EXHIBIT B-7
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     Case:1:13-dp-20140-JJH
           1:13-dp-20140-JJH Doc
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                                                 07/25/16 88of
                                                             of20.
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                                                                           #:1189
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        After Johnson's termination, Drake received both his left and right hip revisions and

 Meshbesher settled all of his claims in the MDL. The parties have stipulated that his recovery of

all Settlement Awards, as of the date of this arbitration, was $561,750, per the Settlement

Program schedule that was admitted, without objection. In addition, there remains an

outstanding claim for discretionary loss of earnings award (EIF Claim No. 3585) which has not

yet been determined.

        The preceding background statement is found by the Arbitrator to be true and necessary

to the Award. To the extent that this recitation differs from a party's position, that is the result of

determinations as to credibility, relevance, burden of proof and weight of the evidence, both oral

and written.

        Claimant seeks recovery of his 40% (35% net) contingency fee and expenses from

Drake's awards. Respondent denies his claim based on an invalidity of the ARA; fraudulent

inducement; "good cause" for termination; unconscionability of the fee; and, fee forfeiture.

These issues will be addressed herein below.



                               FINDINGS AND CONCLUSIONS



                            A. Attorney Representation Agreement

       The ARA was signed by Drake on January 24, 2012, and by Johnson on January 30,

2012. This agreement is found to fully set the necessary terms of the attorney's engagement and

the 40% contingent fee arrangement. Additionally, it contains the arbitration provisions, which

Drake specifically initialed. The ARA also provided that the contract "shall be construed in

accordance with the laws of the State of Texas."



                                            Page 8 of 18
                                            EXHIBIT B-8
     Case:
     Case:1:13-dp-20140-JJH
           1:13-dp-20140-JJH Doc
                             Doc#:
                                 #:51-2
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                                         Filed: 09/09/21
                                                 07/25/16 99of
                                                             of20.
                                                                20. PageID
                                                                    PageID#:
                                                                           #:1190
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            To avoid the contract's enforceability, Drake testified that, like all the materials provided

 to him, he signed the ARA without reading it. Even if such testimony was to be believed, that

 does not excuse him of contractual liability under Texas law. Additionally, Mr. Drake complains

 that the express terms, especially the arbitration provisions, were not explained to him and thus

compromised his understanding of the document. Importantly, Mr. Drake possesses a college

education and admits to having successfully having run at least three businesses, where the

reading and understanding of contracts were involved. The credible evidence does not support

Drake lacked the understanding of the ARA terms nor that he had an inadequate capacity to

comprehend them.

           Respondent's primary complaint was the absence of a "termination provision" which

should have apprised Drake that termination without "good cause" would bind him to the 40%

contingency, post termination. Respondent argues such omission prevented a "meeting of the

minds" necessary to commit him to the contract. Initially, it is illogical to believe Drake was

deprived of any relevant language in a contract he admittedly failed to read. More significantly,

Respondent cannot offer any Texas case or legal precedent which makes such a provision a

requirement to a valid fee agreement. Interestingly, the Meshbesher Retainer Agreement, signed

by Drake, also does not contain such a termination provision.

           From a review of the circumstances surrounding the signing of ARA and the necessary

terms of such agreement, the ARA is found to be a valid and enforceable contract between the

parties.

                                      B. Fraudulent Inducement

           Respondent's claim of fraudulent inducement centers on Johnson's January 19, 2012,

letter wherein it states that: "Failing to contact us may result in the closing of your file and the



                                              Page 9 of 18
                                               EXHIBIT B-9
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    Case:1:13-dp-20140-JJH
          1:13-dp-20140-JJH Doc
                            Doc#:
                                #:51-2
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                                              07/25/16 10
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                                                          of20.
                                                            20. PageID
                                                                PageID#:
                                                                       #:1191
                                                                         256




loss of your rights." To support such an allegation, Drake must show that there was a (1)

material misrepresentation; (2) which was false; (3) which was either known to be false when

made or was asserted without knowledge of the truth; (4) which was intended to be acted upon;

(5) which was relied upon; and, (6) which caused injury. DeSantis v. Wackenhut Corp., 793

S.W.2d 670 (Tex. 1990).

        The January letter to Mr. Drake followed the delivery of 16 months of informative

material regarding the DePuy device and its medical risks and 6 months of no direct contact from

the Respondent. In this context, advising Mr. Drake that closing his file could result in the "loss

of your rights" was not demonstratively false or misleading. A plain reading of the language

only states the obvious. Inasmuch as Drake had shown no previous interest in preserving any

future claims, it would seem only logical that he would not do so going forward. Drake avers

that the language misled him into believing that if he didn't sign the ARA, time was "running

out" and he was "going to lose my rights if I didn't act on it." The alleged reliance by Drake,

having never bothered to read anything else from JLF, and then signing but not reading the ARA,

is found not to be a credible position.

       Respondent's claim of fraudulent inducement is DENIED.



                                          C. Good Cause

               Pursuant to Rule 1.15 of the Texas Disciplinary Rules of Professional Conduct

       ("DR" or "Rules"), a client is allowed to discharge an attorney with or without good

       cause. With regard to a contingency fee contract, however, the line of cases arising from

       Mandell & Wright v. Thomas, 440 S.W.2d 891 (Tex. 1969) provide that if such attorney

       is discharged without good cause before the representation is completed, he may seek



                                          Page 10 of 18
                                          EXHIBIT B-10
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Case:1:13-dp-20140-JJH
      1:13-dp-20140-JJH Doc
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                                          07/25/16 11
                                                   11of
                                                      of20.
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                                                                   #:1192
                                                                     257




   compensation either in quantum meruit or in a suit to enforce the contract by collecting

   the fee from any damages the client subsequently recovers, even if he fails to complete

   the terms of representation. While good cause is a question of fact, it generally requires a

   showing that the attorney has failed to perform his duty to his client in a manner that an

   attorney of ordinary skill and ability would have performed under similar circumstances

   or that the attorney materially disregarded his professional duties as expressed in the

   Rules.

            The evidence reflects that Johnson was effectively terminated on November 29,

   2012, when Drake signed a Substitution of Attorneys document and hiring Minnesota

   attorney, Charles H. Johnson. This termination was done without any discussion or

   previous complaint by Mr. Drake. In a letter from Charles Johnson to JLF on November

  30, 2012, the new counsel explained his basis for termination as "an ongoing professional

  relationship with Mr. Drake's family" and that "they wanted a local attorney who they

  could actually meet with in person." Neither of those two reasons approach good cause

  and importantly, were made with the benefit of new counsel. In a follow-up call by

  Drake on December 5, 2012, he stated that "Chuck Johnson who is local and a big hitter

  would be taking over the case." Those admissions at the time of termination are found

  not to support termination for good cause.

            Following termination and two law firms later, Drake raises several after-the-fact

  allegations for good cause. Among them, Drake claims there was a lack of

  attorney/client communication, and yet the call notes credibly dispute Drake's complaint

  of 6 unreturned calls. Likewise, Drake's complaint that he wasn't informed of the effect

  of a termination without cause is not compelling, especially since his decision to



                                      Page 11 of 18
                                      EXHIBIT B-11
Case:
Case:1:13-dp-20140-JJH
      1:13-dp-20140-JJH Doc
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                                          07/25/16 12
                                                   12of
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                                                        20. PageID
                                                            PageID#:
                                                                   #:1193
                                                                     258




   terminate was made with the benefit of new counsel. Respondent alleges several other

   bases for good cause, including misleading, but unread, communications in the pre-

   contract solicitation material; a rude conversation with a member of JLF's staff; the

   premature filing of the short form petition with the MDL; and, a delayed delivery of

   Drake's file. In total, Respondent's belated reasons were self-serving, at best, and none

   rose to a level of good cause. They are found to be manufactured to offset the inadequate

   explanations actually given at the time of the termination.

           At the time of the termination, Johnson had adequately fulfilled his legal duties of

  representation. Respondent's basis for termination of JLF is found to be without good

  cause.



                               D. Unconseionability of the Fee

           The ARA provided that Johnson was assigned a 40% contingency fee from the

  Respondent's recovery. As an initial matter, a 40% contingency fee is found to be within

  an acceptable range of the usual and customary fees charged in this type of a case.

  Likewise, such a fee is not, on its face, contrary to the factors observed in DR 1.04.

           In making his claim of unconscionability, however, Drake cites the limited

  amount of professional time committed to his case prior to termination. Certainly,

  Johnson was terminated early in the litigation process, at a time when Respondent's

  medical records were limited and prior to his revision surgeries. Drake additionally

  complains that Johnson's fee was unconscionably disproportionate to the actual amount

  of work involved before the termination without cause.

           In addressing these complaints, however, DR 1.04 and the attendant comments



                                     Page 12 of 18
                                     EXHIBIT B-12
Case:
Case:1:13-dp-20140-JJH
      1:13-dp-20140-JJH Doc
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   generally provide that the circumstances at the time a fee arrangement is made should

   control in the question of unconscionability. See, Hoover Slovacek LIP v. Walton, 206

  S.W.3d 560 (Tex. 2006). The testimony reflected that when Johnson accepted the case,

  the outcome was uncertain, with no assurance that a successful result would evolve.

  Additionally, JLF accepted the risks of protracted litigation, in potentially multiple

  forums and at an expense borne by him prior to a recovery. There was no evidence

  presented that when the contract was formed, Johnson accepted a risk not commensurate

  with a 40% contingency fee. Likewise, there was no evidence submitted that Johnson

  was either incapable or unwilling to complete his professional duties to recover the

  awards ultimately received by Drake with subsequent counsel. Based on this perspective

  and in context with the Disciplinary Rules, the ARA was not an unconscionable contract

  between the attorney and client. Further, while the decision to terminate without cause

  immediately subjected Drake to an economically unfavorable outcome, the principles

  established in Mandell & Wright are persuasive to reject any public policy arguments.

          Respondent's claim of an unconscionable fee is DENIED.



                                     E. Fee Forfeiture

          Finally, Drake cites Burrow v. Arce, 997 S.W.2d 229 (Tex. 1999) as the basis for

  a fee forfeiture in this case. To prevail on such a theory, Respondent must establish that

  Johnson committed clear and serious breaches of his ethical and fiduciary duties to

  Drake. This requires a factual analysis using the Disciplinary Rules for necessary

  guidance, as well as reviewing the gravity and timing of a violation, its willfulness and

  the harm to the client.



                                    Page 13 of 18
                                    EXHIBIT B-13
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Case:1:13-dp-20140-JJH
      1:13-dp-20140-JJH Doc
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                                          07/25/16 14
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            From the testimony presented by Respondent, this fee forfeiture claim was

   essentially no more than the factual re-casting of his previous good cause argument for

   termination. Just as the evidence failed to sufficiently raise good cause, it likewise was

   insufficient to support a breach of Johnson's ethical and fiduciary duties to Drake, and

   certainly not one which rose to a serious level ever contemplated by Burrow.

          Drake's request for a fee forfeiture is DENIED.



                                     F. Contingency Fee

          Although it is found that Johnson's 40% contingency fee was reasonable and is

  usual and customary in this type of case, the MDL judge assessed a "common benefit"

  fee applicable to all claimant attorney fee awards. The parties stipulated this during this

  arbitration and accordingly Johnson's fee is modified to a "net" 35% contingency.

          The parties also stipulated that Meshbesher has subsequently settled Drake's A

  and B Settlement Award for both his left and right hip in the amount of $561,750.00, per

  the Settlement Program schedule that was jointly admitted. In applying Johnson's net

  35% contingency, he is entitled to receive and is AWARDED an attorney fee in the

  amount of $196,612.50.

         Additionally, the testimony reflected that there still remains a discretionary loss of

  earnings award (EIF Claim No. 3585) which has not yet been determined. If and when

  Drake recovers from this claim, Johnson is AWARDED 35% of that to be determined

  amount.

                                     G. Attorneys' Fees

         Johnson seeks the recovery of his attorneys' fees expended in this arbitration as a



                                    Page 14 of 18
                                     EXHIBIT B-14
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Case:1:13-dp-20140-JJH
      1:13-dp-20140-JJH Doc
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                                          07/25/16 15
                                                   15of
                                                      of20.
                                                        20. PageID
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                                                                   #:1196
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   prevailing party for breach of contract, pursuant to Chapter 38 of the Texas Civil Practice

   and Remedies Code. Drake argues, however, that no such breach has occurred.

   Certainly there was no breach at the time the ARA was terminated without cause, as it

   was Drake's right to end the relationship at any time. Thereafter, JLF put Respondent,

   through counsel, on notice of his 40% attorney contract lien on March 4, 2013.

   Subsequent to this notice, Respondent steadfastly rejected this claim and failed and

   refused to pay Johnson his contingency fee following recovery in the MDL. As stated in

   the June 30, 2014, email by Meshbesher partner, Terry Nemo, the claim for the fee was

   denied as to "any portion of the settlement." It is found that failure to pay Johnson his

   contingency fee following a recovery was a breach of the ARA.

          JLF was represented throughout this matter by Ft. Worth attorneys, Thomas

   Needham ("Needham") and Jennifer Andrews ("Andrews") with the firm of Wallach

   Andrews. Both Needham and Andrews filed affidavits supporting their requests for fees

  and expenses. Needham initially signed a 40% contingency contract with JLF on July 15,

  2014. It is found that such arrangement was not appropriate for consideration in this case

  because in January 2016, Needham retained Andrews to serve as co-counsel and to

  complete and try the case. Consequently, the assessment of fees was analyzed on an

  hourly basis. In addressing the hourly rate, each affidavit sought a rate of $250/hour.

          In reviewing the Needham and Andrews affidavits and the attached billing

  records, the Arbitrator is mindful of the factors articulated in Arthur Andersen & Co. v.

  Perry Equip. Corp., 945 S.W.2d 812 (Tex. 1997). Taking into consideration each

  attorney's qualifications and the nature and subject matter of the proceedings, $250/hour

  is found to be both reasonable and customary within the Dallas/Ft. Worth legal



                                     Page 15 of 18
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Case:1:13-dp-20140-JJH
      1:13-dp-20140-JJH Doc
                        Doc#:
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                                          07/25/16 16
                                                   16of
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                                                        20. PageID
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   community. Andrews also employed the services of attorney Cynthia Maragoudakis, at

   the rate of $200/hour, and paralegal, Michele Rayburn, at the rate of $95/hour. Likewise,

   these rates are found to be reasonable and customary.

           In specifically reviewing the Needham affidavit, he has included his time for both

   the federal Ft. Worth suit and the Dallas JAMS arbitration. It appears that the

   unsuccessful federal litigation to compel this arbitration was not a necessary proceeding.

   While Respondent challenged jurisdiction in the arbitration proceeding, he voluntarily

   participated in the case without the necessity of being compelled by any court action.

   Accordingly, the time entries associated with the Ft. Worth suit have been disregarded in

   calculating the fee award.

          Critically, the Needham records often reflected block billing and vague entries.

   The Andrews affidavit was heavily redacted, which effected the clarity of several entries.

   To avoid overlapping or duplicate billing, therefore, Needham's time entries were not

   considered after engaging Andrews in January 2016. By employing this methodology,

   the resulting balance of the fees incurred by each of Claimant's attorneys present an

   efficient and non-overlapping use of legal resources.

          From a review of the billing affidavits, and considering the time involved, the

  complexity of the case and the multiple forums, the reasonable and necessary fee award

  for Needham is $47,625, and for Andrews is $88,832. Although each attorney has also

  requested expenses attendant to their representation, they are found to be both

  insufficiently specific and not the type usually associated with a Chapter 38 award.

          Accordingly, Johnson is AWARDED his reasonable and necessary attorneys' fees

  in the amount of $136,457. Additionally, he is AWARDED his expended JAMS costs



                                     Page 16 of 18
                                     EXHIBIT B-16
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Case:1:13-dp-20140-JJH
      1:13-dp-20140-JJH Doc
                        Doc#:
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   and Arbitrator fees in the amount of $20,145.47.



                                       FINAL AWARD



          For the foregoing reasons, it is ORDERED that:

          1. The parties' Attorney Representation Agreement is found to be a valid and

             enforceable contract;

          2. Drake's claim of Fraudulent Inducement is DENIED;

         3. The parties' Attorney Representation Agreement was terminated by Drake

             without "good cause";

         4. Drake's claim of an Unconscionable Fee is DENIED;

         5. Drake's claim for Fee Forfeiture is DENIED;

         6. Johnson is AWARDED his net 35% contingency fee from Drake's A and B

             Settlement Award in the amount of $196,612.50;

         7. Johnson is AWARDED his net 35% contingency fee from Drake's

             discretionary loss of earnings award (EIF Claim No. 3585) to the extent of

             the yet determined amount and if and when Drake recovers from this claim;

         8. Johnson is GRANTED a lien on Drake's recovered claims, as indicated in

             items 6 and 7, above;

         9. Drake is found to have breached the Attorney Representation Agreement;

         10. Johnson is AWARDED from Drake his attorneys' fees in the amount of

            $136,457;

         11. Johnson's request for litigation expenses is DENIED;



                                     Page 17 of 18
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   Case:1:13-dp-20140-JJH
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             12.Johnson is AWARDED from Drake his expended JAMS costs and Arbitrator

                costs in the amount of $20,145.47; and,

             13. This Final Award resolves all issues for decision in this proceeding and all

                other relief not expressly granted is DENIED.




DATED: July 7, 2016.
                                                 HON. GLEN M. ASH WORTH,
                                                 Arbitrator




                                     Page 18 of 18
                                      EXHIBIT B-18
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       Case:1:13-dp-20140-JJH
             1:13-dp-20140-JJH Doc
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                                   PROOF OF SERVICE BY E-Mail & Fax

                                   Re: Johnson, Steven M. vs. Drake, William
                                          Reference No. 1310021509

            I, Carolina El'Azar, not a party to the within action, hereby declare that on July 07, 2016, I served

the attached Corrected Final Award on the parties in the within action by electronic mail and fax at Dallas,

TEXAS, addressed as follows:

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L/0 Barry N. Johnson                                     Ashleigh E. Raso Esq.
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Phone: 817-523-1330                                      Minneapolis, MN 55404
Fax: 469-248-0602                                        Phone: (612) 339-9121
johnsonneedhamlaw@gmail.com                              Fax: (612) 339-9188
   Parties Represented:                                  tnemo@meshbesher.com
   Steven M. Johnson                                     araso@meshbesher.corn
                                                         adavick@meshbesher.com
                                                            Parties Represented:
                                                            William Drake

Thomas R. Needham Esq.                                   Karin Cagle Esq.
110 Thomas R. Needham                                    Kirkley Law Firm, LLP
3116W. Fifth St.                                         1619 Pennsylvania Ave.
Suite 107                                                Fort Worth, TX 76104
Fort Worth, TX 76107                                     Phone: 817-721-5127
Phone: 817-523-1330                                      Fax: 817-335-7733
Fax: 469-248-0602                                        kcaglelaw@gmail .com
johnsornieedhamlaw@gtnalcom                                 Parties Represented:
   Parties Represented:                                     William Drake
   Steven M. Johnson

Jennifer Morris Andrews Esq.
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Phone: 817-338-1707
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j.andrews@wallach-law.com
    Parties Represented:
    Steven M. Johnson


                                              EXHIBIT B-19
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      Case:1:13-dp-20140-JJH
            1:13-dp-20140-JJH Doc
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           declare    penalty of perjury the foregoing to be true and correct. Executed at Dallas, TEXAS
     y07, -016




celazar@jamsadr.com




                                       EXHIBIT B-20
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                                      36 Filed:  09/09/21 11 of
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                              UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


Andrea K. Drake, et al.,                                       Case No. 1:13-dp-20140

                       Plaintiffs,

       v.                                                      MEMORANDUM OPINION
                                                                   AND ORDER

DePuy Orthopaedics, Inc., et al.,

                       Defendants.


                                      I.      INTRODUCTION

       Plaintiffs William and Andrea Drake have filed a motion to vacate an arbitration award

obtained by Steven Johnson, Plaintiffs’ former attorney, from an arbitrator in Texas. (Doc. No. 7).

Johnson has filed a competing motion to confirm the arbitration award. (Doc. No. 7; 3:17-dp-

20085). I previously concluded I have subject matter and personal jurisdiction over this case and

Johnson and granted Plaintiffs’ motion to enforce the Master Settlement Agreement. (Doc. No. 30).

The Sixth Circuit denied Johnson’s appeal on that decision as premature, Drake v. DePuy Orthopaedics,

Inc., 757 F. App'x 449 (6th Cir. 2018), and this matter now is before me for the resolution of

Plaintiffs’ motion to vacate and Johnson’s motion to confirm. For the reasons stated below, I deny

Johnson’s motion, and I grant Plaintiffs’ motion to vacate the arbitration award.

                                       II.     BACKGROUND

       The Sixth Circuit accurately and succinctly summarized the factual and procedural

background of this dispute, and I will reiterate that summary here for consistency:




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 Case:1:13-dp-20140-JJH
        1:13-dp-20140-JJHDoc
                          Doc#:#:51-3 Filed: 09/30/19
                                  36 Filed:  09/09/21 22 of
                                                         of 7.
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                                                                      #: 726
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  Plaintiff William Drake is a Minnesota resident. He is married to Andrea Drake, and
  has lived in Minnesota for approximately forty years. He received Articular Surface
  Replacement (“ASR”) hip implants that were manufactured by DePuy Orthopaedics
  Inc., in both of his hips, at a hospital located in Minnesota. In 2010, DePuy recalled
  the ASR implants (“MDL Action”) that Mr. Drake received. The Drakes learned of
  the recall through a television advertisement from a law firm representing persons
  who received DePuy ASR implants subject to this recall. Mrs. Drake called the
  number on the advertisement and thereafter began discussions with Johnson
  through his law firm. The Drakes did not know where the law firm was located
  when they initiated contact, but eventually learned that it was in Texas. Other than a
  brief layover in a Texas airport, Mr. Drake has never been to Texas.

  Between September 28, 2010, and January 19, 2012, Johnson’s law firm contacted
  the Drakes through calls and letters approximately fifty-seven times, which generally
  resulted in the firm leaving voicemails. During that time period, following six
  months of no direct contact from the Drakes, Johnson’s law firm sent Mr. Drake a
  final letter, which stated that “[f]ailing to contact us may result in the closing of your
  file and the loss of your rights.” . . . Five days later, on January 24, 2012, Mr. Drake
  signed the form contract (Attorney Representation Agreement, or “ARA”) Johnson’s
  firm had previously sent him. The ARA included an arbitration clause, stating that in
  the event of a dispute, arbitration would be held in Fort Worth, Texas.

  On November 28, 2012, Johnson was informed by the Drakes that they intended to
  terminate their ARA with him, and secure different counsel. Shortly thereafter,
  Johnson filed a short-form complaint on behalf of the Drakes in the MDL Action in
  Ohio. Once the Drakes hired a local law firm to represent him, the new law firm
  filed a complaint in Minnesota, and the case was transferred to the Northern District
  of Ohio court handling this MDL. Before Johnson dismissed the complaint he filed
  on behalf of the Drakes, he put the Drakes’ new attorneys on notice of his attorney’s
  fee lien on any recovery from the Drakes’ MDL lawsuit. Johnson dismissed the case
  he filed with the following stipulation:

          The parties further agree and stipulate that this dismissal shall have
          no effect on Plaintiff’s pending case in the United States District
          Court, Northern District of Ohio, filed by the law firm of
          Meshbesher & Spence, Ltd. on January 24, 2013 (Case No. 1:30-dp-
          20140).

          The Parties further recognize that the Johnson Law firm has asserted
          a claim on any recovery the Plaintiff may make for any injuries related
          to the DePuy ASR for the full amount of all monies that [the
          Johnson Law Firm] is entitled to under the terms of its contract with
          the Plaintiff and that this dismissal shall have no effect on those
          claims.

  ...



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                                      36 Filed:  09/09/21 33 of
                                                             of 7.
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          DePuy Orthopaedics, Inc. reached a settlement agreement with the plaintiff class in
          the MDL Action in November 2013, and the Drakes signed on to this settlement
          agreement shortly thereafter. The settlement agreement specifically outlines how
          disputes connected with the MDL Action are to be handled, which includes
          arbitration and the use of a Special Master and/or Claims Processor that have already
          been appointed through the MDL Action settlement process.

          In an effort to litigate the fee dispute arising out of the MDL Action, Johnson
          initiated a JAMS arbitration in Dallas, Texas on July 31, 2014. The next day, he filed
          an action in the Northern District of Texas, Fort Worth Division, to compel the
          Drakes to arbitrate in Texas. . . . The Fort Worth district court dismissed Johnson’s
          action for lack of personal jurisdiction (in personam) over Mr. Drake. The
          arbitration continued, despite and over the Drakes’ objections to both the individual
          arbitrator selected and to the Texas forum.

          On February 16, 2016, the Drakes initiated the ADR process regarding the parties’
          fee dispute, as dictated by the MDL Action settlement agreement, through Special
          Master Cathy Yanni of JAMS. Two days later, Johnson again moved to compel the
          Drakes to arbitration in Texas, this time filing in a Dallas district court. Special
          Master Yanni issued an order dismissing the Drakes’ arbitration request on the basis
          that she did not have jurisdiction over the matter because it was already pending in a
          different forum with another JAMS arbitrator. Shortly afterwards, before the district
          court in Dallas issued any substantive rulings, Johnson voluntarily dismissed that
          action.

          The Texas arbitrator issued a final award in favor of Johnson on June 22, 2016 (later
          corrected for a typographical error and re-issued on July 7, 2016). Of the Drakes’
          settlement award, the arbitrator authorized over sixty-two percent to be distributed
          to Johnson, Johnson’s attorneys, and the JAMS arbitration process. Johnson then
          filed another action in the district court in Dallas, where he moved that the court
          confirm the arbitration award. The Drakes then filed a motion to enforce the MDL
          Action settlement agreement and to vacate the arbitration award in the Ohio district
          court. The Ohio district court granted the Drakes’ motion to enforce the settlement
          agreement and did not reach the motion to vacate the arbitration award. The next
          day, the Dallas district court sua sponte transferred Johnson’s motion to confirm the
          arbitration award to be consolidated with the MDL case in the Ohio district court.
          Johnson timely appealed the Ohio district court’s order.

Drake, 757 F. App’x at 450–52 (6th Cir. 2018) (footnotes and internal citations omitted) (alterations

added).

          The Sixth Circuit concluded it did not have appellate jurisdiction over Johnson’s appeal

because my earlier order did not resolve “the issue of how to deal with the arbitration award . . . .”




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             1:13-dp-20140-JJHDoc
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                                       36 Filed:  09/09/21 44 of
                                                              of 7.
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                                                                           #: 728
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Id. at 453. The court of appeals remanded the case for further consideration of Johnson’s motion to

confirm and the Drakes’ motion to vacate.

                                            III.     ANALYSIS

        Federal law “mandate[s] the enforcement of arbitration agreements.” Southland Corp. v.

Keating, 465 U.S. 1, 10 (1984). Arbitration agreements are “irrevocable . . . save upon such grounds

as exist at law or in equity for the revocation of any contract.” 9 U.S.C. § 2; see also Salvano v. Merrill

Lynch, Pierce, Fenner & Smith, Inc., 647 N.E.2d 1298, 1302 (N.Y. 1995) (Arbitration agreements are

governed by “the accepted rules of contract law.”); J.M. Davidson, Inc. v. Webster, 128 S.W.3d 223,

227–28 (Tex. 2003) (“[W]hen deciding whether the parties agreed to arbitrate, ‘courts generally . . .

should apply ordinary state-law principles that govern the formation of contracts.’”) (quoting First

Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995)).

        The Drakes and Johnson entered into the ARA in January 2012. The ARA stated that Texas

law applied to the terms of that agreement. (Doc. No. 10-4 at 1). While the ARA does not contain

a provision governing amendments to the contract, Texas law plainly contemplates that parties to a

contract may amend their written arbitration agreement through a subsequent writing. See, e.g., J.M.

Davidson, Inc., 128 S.W.3d at 227–29.

        The Drakes and Johnson later became subject to another agreement – the 2015 ASR

Settlement Agreement dated March 2, 2015 (the “2015 Settlement Agreement”), which modified and

extended the initial ASR Settlement Agreement dated November 19, 2013 (the “2013 Settlement

Agreement”). The Drakes settled their claims under the 2013 Settlement Agreement, though those

claims still were active in the claims process when the 2015 Settlement Agreement took effect.

        An MDL court’s “inherent authority” to create and enforce mechanisms which “bring

management power to bear upon massive and complex litigation” is well established. In re Vioxx

Prods. Liab. Litig., 760 F. Supp. 2d 640, 648 (E.D. La. 2010) (discussing a court’s authority to assess


                                                      4

                                              EXHIBIT C-4
    Case:
     Case:1:13-dp-20140-JJH
            1:13-dp-20140-JJHDoc
                              Doc#:#:51-3 Filed: 09/30/19
                                      36 Filed:  09/09/21 55 of
                                                             of 7.
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                                                                             1206



common benefit attorneys’ fees against a pool of funds used to compensate MDL plaintiffs and

attorneys) (quoting In re Air Crash Disaster at Fl. Everglades on Dec. 29, 1972, 549 F.2d 1006, 1012 (5th

Cir. 1977)). So too is the requirement that a court “exercise supplemental jurisdiction over fee

disputes that are related to the main action.” Kalyawongsa v. Moffett, 105 F.3d 283, 287-88 (6th Cir.

1997).

         Johnson’s claims, which are dependent upon a recovery by the Drakes “by way of

settlement, judgment or otherwise,” (Doc. No. 10-4 at 1), are squarely based upon the Master

Settlement Agreement. The amount, scope, and timing of the Drakes’ recovery under the U.S.

Program (the private claim resolution program established by the 2013 Settlement Agreement and

revised by the 2015 Settlement Agreement) is determined by the provisions of the 2015 Settlement

Agreement. That agreement specifically provides that any dispute concerning the 2015 Settlement

Agreement or “any U.S. Program Claim . . . shall be submitted to the Claims Administrator who

shall sit as a binding arbitration panel and whose decision shall be final, binding and Non-

Appealable.” (2015 Settlement Agreement, § 14.1.2).

         The fact that Johnson no longer represented the Drakes at the time they entered into the

2013 Settlement Agreement does not alter the conclusion that Johnson’s claim for his alleged lien is

governed by the terms of that and subsequent Settlement Agreements. Johnson represents

numerous plaintiffs who settled their claims pursuant to one or more of the ASR Settlement

Agreements. Moreover, even a plaintiff who is not a signatory to a contract containing an

arbitration agreement “may be compelled to arbitrate if his claims are ‘based on a contract’

containing an agreement to arbitrate.” Branch Law Firm L.L.P. v. Osborn, 532 S.W.3d 1, 12 (Tex.

App. 2016) (quoting In re Kellogg Brown & Root, Inc., 166 S.W.3d 732, 740 (Tex. 2005)); see also Belzberg

v. Verus Invest. Holdings Inc., 999 N.E.2d 1130 (N.Y. 2013) (holding a nonsignatory is bound by an




                                                    5

                                             EXHIBIT C-5
    Case:
     Case:1:13-dp-20140-JJH
            1:13-dp-20140-JJHDoc
                              Doc#:#:51-3 Filed: 09/30/19
                                      36 Filed:  09/09/21 66 of
                                                             of 7.
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                                                                             1207



agreement containing an arbitration clause when the nonsignatory directly derives a benefit from the

agreement).

           In short, the Drakes and Johnson agreed to a contract which contained a binding

arbitration provision – the 2015 Settlement Agreement. The subsequent arbitration Johnson

initiated and pursued, however, did not comport with the parties’ agreement. Permitting a party to

any contract – to say nothing of one governing an area as broad and complex as the area this MDL

addresses – to choose which provisions of that agreement it will abide by, and which it won’t, simply

is untenable. What is more problematic, in this case, is that it also violates federal law.

          The Federal Arbitration Act provides that a party which has been “aggrieved by the alleged

failure . . . of another to arbitrate under a written agreement for arbitration may petition . . . for an

order directing that such arbitration proceed in the manner provided for in such agreement.” 9

U.S.C. § 4. More precisely, to these circumstances, “[i]f in the agreement provision be made for a

method of naming or appointing an arbitrator or arbitrators or an umpire, such method shall be

followed . . . .” 9 U.S.C. § 5 (emphasis added). Parties to an arbitration agreement “may specify with

whom they choose to arbitrate their disputes.” Stolt-Nielsen S.A. v. AnimalFeeds Int'l Corp., 559 U.S.

662, 683 (2010) (emphasis original).

          The 2015 Settlement Agreement expressly provides a specific process for arbitration and

identifies a particular arbitrator. The Texas arbitration neither followed that process nor used that

arbitrator. “[A]rbitration awards made by arbitrators not appointed under the method provided in

the parties’ contract must be vacated.” PoolRe Ins. Corp. v. Organizational Strategies, Inc., 783 F.3d 256,

263 (5th Cir. 2015) (quoting Brook v. Peak Int’l, Ltd., 294 F.3d 668, 673 (5th Cir. 2002)) (emphasis

added).

          Therefore, I vacate the Texas arbitration award and order the Drakes and Johnson to adhere

to the arbitration procedures set forth in the 2015 Settlement Agreement, including arbitration


                                                     6

                                              EXHIBIT C-6
    Case:
     Case:1:13-dp-20140-JJH
            1:13-dp-20140-JJHDoc
                              Doc#:#:51-3 Filed: 09/30/19
                                      36 Filed:  09/09/21 77 of
                                                             of 7.
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                                                                             1208



before the Claims Administrator or, if the Claims Administrator is unable to preside over the

arbitration, before “one of the Special Masters who has not rendered any decision with regard to the

matter at issue . . . .” (2015 Settlement Agreement, § 14.1.2 - 14.1.3).

                                         IV.     CONCLUSION

        For the reasons stated above, I deny Johnson’s motion to confirm the arbitration award,

grant the Drakes’ motion to vacate the arbitration award, and order the parties to proceed with

arbitration as contemplated by the 2015 Settlement Agreement.

        So Ordered.




                                                        s/ Jeffrey J. Helmick
                                                        United States District Judge




                                                    7

                                               EXHIBIT C-7
    Case:
     Case:1:13-dp-20140-JJH
           1:17-dp-20085-JJH Doc
                              Doc#:#:51-4 Filed: 09/30/19
                                      54 Filed:   09/09/21 11ofof1.1. PageID
                                                                       PageID#:#:2609
                                                                                  1209




                            UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


Steven M. Johnson,                                           Case No. 1:17-dp-20085

                       Petitioner,

       v.                                                    JUDGMENT ENTRY


William Scott Drake,

                       Respondent.


       For the reasons stated in the Memorandum Opinion and Order filed in Drake v. DePuy

Orthopaedics, Inc., Case. No. 1:13-dp-20140, I deny the motion of Steven Johnson to confirm the

arbitration award, grant the motion of William and Andrea Drake to vacate the arbitration award,

and order the parties to proceed with arbitration as contemplated by the 2015 Settlement

Agreement.

       So Ordered.




                                                      s/ Jeffrey J. Helmick
                                                      United States District Judge




                                           EXHIBIT D
          Case: 19-4074 Document:
   Case: 1:13-dp-20140-JJH           36-1
                           Doc #: 51-5 Filed:Filed: 12/15/2020
                                               09/09/21           Page: 1 #: 1210
                                                         1 of 26. PageID                         (1 of 26)




                        UNITED STATES COURT OF APPEALS
                             FOR THE SIXTH CIRCUIT
                             100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt          POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                    CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                               Filed: December 15, 2020




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         Re: Case Nos. 19-4074/19-4075, Andrea Drake, et al v. DePuy Orthopaedics, Inc., et al
             Originating Case Nos. : 1:13-dp-20140; 1:17-dp-20085

Dear Counsel,

  The Court issued the enclosed opinion today in this case.

                                               Sincerely yours,

                                               s/Cathryn Lovely
                                               Opinions Deputy




                                        EXHIBIT E-1
          Case: 19-4074 Document:
   Case: 1:13-dp-20140-JJH           36-1
                           Doc #: 51-5 Filed:Filed: 12/15/2020
                                               09/09/21           Page: 2 #: 1211
                                                         2 of 26. PageID            (2 of 26)




cc: Ms. Sandy Opacich

Enclosure

Mandate to issue




                                   EXHIBIT E-2
          Case: 19-4074 Document:
   Case: 1:13-dp-20140-JJH           36-2
                           Doc #: 51-5 Filed:Filed: 12/15/2020
                                               09/09/21           Page: 1 #: 1212
                                                         3 of 26. PageID                           (3 of 26)




                         NOT RECOMMENDED FOR PUBLICATION
                                File Name: 20a0696n.06

                                    Nos. 19-4074/4075

                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT                               FILED
                                                                             Dec 15, 2020
                                                                         DEBORAH S. HUNT, Clerk
In Re: DEPUY ORTHOPAEDICS, INC. ASR             )
HIP IMPLANT PRODUCTS LIABILITY                  )
LITIGATION.                                     )
_______________________________________         )       On Appeal from the United States
                     19-4074                    )       District Court for the Northern District
                                                )       of Ohio
ANDREA K. DRAKE; WILLIAM S. DRAKE,              )
       Plaintiffs-Appellees,                    )
                                                )
       v.
                                                )
DEPUY ORTHOPAEDICS, INC., et. al.,              )
       Defendants,                              )
                                                )
STEVEN M. JOHNSON, d/b/a THE JOHNSON            )
LAW FIRM,                                       )
       Petitioner-Appellant.                    )
                                                )
                     19-4075                    )
                                                )
STEVEN M. JOHNSON,
                                                )
       Petitioner-Appellant,                    )
       v.                                       )
WILLIAM S. DRAKE,                               )
                                                )
       Respondent-Appellee.                     )



Before: GUY, CLAY, and KETHLEDGE, Circuit Judges.

       RALPH B. GUY, JR., Circuit Judge.         These appeals involve the arbitration of a

contingent fee dispute between an attorney and his former client after the client obtained a




                                       EXHIBIT E-3
           Case: 19-4074 Document:
    Case: 1:13-dp-20140-JJH           36-2
                            Doc #: 51-5 Filed:Filed: 12/15/2020
                                                09/09/21           Page: 2 #: 1213
                                                          4 of 26. PageID                             (4 of 26)

Case Nos. 19-4074/4075                                                                         2
Drake v. Johnson, d/b/a The Johnson Law Firm

settlement of his underlying claims through the DePuy ASR Hip Implant Products Liability

Litigation (MDL No. 2197). Attorney Steven M. Johnson d/b/a The Johnson Law Firm, initiated

arbitration in Texas against his former client William Drake pursuant to their Attorney

Representation Agreement (ARA), which ultimately resulted in a final arbitration award in

Johnson’s favor for more than $350,000. Moving to vacate that award, Drake sought to force

Johnson to arbitrate their fee dispute anew before a Special Master appointed under the MDL’s

Master Settlement Agreement (MSA). The district court sided with Drake twice—once before

and once after we dismissed Johnson’s first appeal for lack of jurisdiction. Drake v. DePuy

Orthopaedics, Inc., 757 F. App’x 449, 452 (6th Cir. 2018).

       Johnson’s latest appeals are from the district court’s orders on remand: (1) denying

confirmation of the arbitration award in Johnson’s favor; (2) vacating that arbitration award; and

(3) ordering the parties to arbitrate their fee dispute again pursuant to the MSA. Drake v. DePuy

Orthopaedics, Inc., No. 1:13-dp-20140, 2019 WL 4750608 (N.D. Ohio Sept. 30, 2019) (MDL);

Johnson v. Drake, No. 1:17-dp-20085 (Order R. 54) (N.D. Ohio Sept. 30, 2019) (Transferred

Motion to Confirm Award). To be clear, the issue is not whether the parties agreed to arbitrate

any fee disputes between them under the express terms of the ARA—everyone accepts that they

did. The question is whether it was error to vacate the arbitration award on the grounds that the

initial agreement to arbitrate was amended, modified, or otherwise superseded by the provisions

of the MSA. Because the district court’s reliance on a mix of contract principles, estoppel theory,

and inherent authority does not withstand scrutiny, we REVERSE and REMAND for further

proceedings consistent with this opinion.1


1
 Although judgment has not been entered in the Drakes’ MDL case under 28 U.S.C. § 1291, an
appeal may be taken from orders “denying confirmation of an award” or “vacating an award,” 9




                                          EXHIBIT E-4
          Case: 19-4074 Document:
   Case: 1:13-dp-20140-JJH           36-2
                           Doc #: 51-5 Filed:Filed: 12/15/2020
                                               09/09/21           Page: 3 #: 1214
                                                         5 of 26. PageID                                 (5 of 26)

Case Nos. 19-4074/4075                                                                            3
Drake v. Johnson, d/b/a The Johnson Law Firm

                                                  I.

       Minnesota resident William Drake underwent bilateral hip replacement surgeries in 2007.

The implants he received—DePuy Articular Surface Replacement (ASR) hip devices—were

recalled in 2010. Many lawsuits followed and, by the end of 2010, the Judicial Panel on

Multidistrict Litigation had ordered the transfer of the first of thousands of federal ASR hip implant

actions to the Northern District of Ohio for coordinated or consolidated pretrial proceedings. See

28 U.S.C. § 1407(a) (providing that each action “be remanded by the panel at or before the

conclusion of such pretrial proceedings to the district from which it was transferred unless it shall

have been previously terminated”).

                                   A. Johnson’s Representation

       Drake’s wife Andrea saw and responded to a solicitation from the Johnson Law Firm

relating to the DePuy recall. Letters and calls were directed to the Drakes for more than a year,

until a final warning letter prompted Drake to engage Johnson to represent him in January 2012.

Under the Attorney Representation Agreement (ARA or Fee Agreement), Johnson would bring

Drake’s claims against the manufacturer and distributor of the ASR hip device and would receive

a contingent attorney’s fee of 40% of whatever was recovered “by way of settlement, judgment,

or otherwise.” The ARA specified that it would be governed by Texas law, contained an

integration clause, and was silent regarding subsequent amendment or modification.

       Significant for our purposes, Drake expressly agreed to “binding arbitration of any disputes

between the client and the Firm.” More specifically, Drake and Johnson agreed that “any dispute

arising from the interpretation, performance, or breach of this Fee Agreement . . . shall be resolved



U.S.C. § 16(a)(1)(D)-(E). Also, judgment was entered in the action transferred from the district
court in Texas, and an appeal may be taken from “a final decision with respect to an arbitration
that is subject to this title.” 9 U.S.C. § 16(a)(3).



                                           EXHIBIT E-5
           Case: 19-4074 Document:
    Case: 1:13-dp-20140-JJH           36-2
                            Doc #: 51-5 Filed:Filed: 12/15/2020
                                                09/09/21           Page: 4 #: 1215
                                                          6 of 26. PageID                             (6 of 26)

Case Nos. 19-4074/4075                                                                         4
Drake v. Johnson, d/b/a The Johnson Law Firm

by final and binding arbitration conducted in Fort Worth, by any other arbitrator that The Firm

may choose.” The ARA did not otherwise specify the arbitrator or incorporate any arbitration

rules to govern such an arbitration.

       Johnson represented Drake for less than a year. In that time, Johnson notified DePuy of

Drake’s ASR-related claims, obtained medical records, and waited for Drake’s revision surgery to

be scheduled. At the end of November 2012, the Firm was advised that Drake was terminating its

representation; Johnson filed a “short form” complaint in the MDL on Drake’s behalf anyway; and

Drake retained as substitute counsel Minnesota Attorney Charles Johnson (no relation to Steven

Johnson). Although the sequence of and justifications for those actions were contested in the

Texas arbitration proceeding, the fact that they occurred was not.2

       Not long after terminating Johnson’s representation, Drake underwent revision surgery and

changed counsel one last time. The Drakes have been represented ever since by the Minnesota

law firm of Meshbesher & Spence, Ltd.—both in the MDL case and the fee dispute with Johnson.

                                       B. Drake’s Settlement

       A new complaint alleging the Drakes’ ASR-related claims was filed in federal court in

Minnesota in early 2013. That became the operative pleading after it was transferred to the

Northern District of Ohio for pretrial proceedings in the DePuy ASR Hip Implant Products

Liability Litigation. See Gelboim v. Bank of Am. Corp., 574 U.S. 405, 413 (2015) (noting that

“[c]ases consolidated for MDL pretrial proceedings ordinarily retain their separate identities”).

That transfer called attention to the “short-form” complaint previously filed by Johnson on Drake’s



2
  The arbitrator ultimately found that Drake did not have “good cause” to fire Johnson, which,
under Texas law, meant that Johnson was not limited to a quantum meruit recovery and was able
to enforce the contract and collect the full contingent fee once Drake recovered on the underlying
claim. See Mandell & Wright v. Thomas, 441 S.W.2d 841 (Tex. 1969).



                                          EXHIBIT E-6
           Case: 19-4074 Document:
    Case: 1:13-dp-20140-JJH           36-2
                            Doc #: 51-5 Filed:Filed: 12/15/2020
                                                09/09/21           Page: 5 #: 1216
                                                          7 of 26. PageID                                  (7 of 26)

Case Nos. 19-4074/4075                                                                              5
Drake v. Johnson, d/b/a The Johnson Law Firm

behalf. Johnson stipulated to its dismissal, but not without asserting a contingent fee claim “for

the full amount of all monies that JLF is entitled to under the terms of its contract with the Plaintiff

and that this dismissal shall have no effect on those claims.”

       The MDL proceeded with extensive discovery conducted by lead counsel for plaintiffs and

defendants, and, by mid-2013, the number of cases filed in the MDL docket exceeded 8,500.

Drake v. DePuy Orthopaedics, Inc., No. 13-dp-20140, 2017 WL 6502489, at *1 (N.D. Ohio Dec.

19, 2017). DePuy and a committee of plaintiffs’ attorneys (which did not include Johnson) reached

a private global settlement agreement in late 2013. The settlement—formalized as the Master

Settlement Agreement (MSA)—created an “opt-in” program funded by DePuy for the settlement

of the ASR-related claims, filed and unfiled, of eligible U.S. claimants who underwent revision

surgery prior to August 31, 2013. Under the MSA, eligible claimants (including Drake) could

choose to settle by “enrolling” in the program and agreeing to have their claims decided in a private

administrative process with the release of all claims against the defendants.

       In particular, the MSA appointed three Special Masters “to oversee the administration of

claims for benefits and to make final and binding determinations under this Agreement with the

authority of an Arbitrator under the Federal Arbitration Act.” (MSA § 12.4.2.) The MSA provided

for “final, binding and Non-Appealable” arbitration of “any dispute that arises under or otherwise

in connection with . . . any U.S. Program Claim.” (MSA § 14.1.2.) An arbitration would be

initiated by serving a demand on the Special Master, and, unless the parties agreed otherwise, the

arbitration would be governed by the American Arbitration Association (AAA)’s Commercial

Arbitration Rules. (MSA § 14.1.3.2.)

       Through counsel, the Drakes enrolled in the MSA’s settlement program in early 2014.

Drake was approved for Part A and Part B settlement awards totaling $561,750, which triggered




                                            EXHIBIT E-7
           Case: 19-4074 Document:
    Case: 1:13-dp-20140-JJH           36-2
                            Doc #: 51-5 Filed:Filed: 12/15/2020
                                                09/09/21           Page: 6 #: 1217
                                                          8 of 26. PageID                              (8 of 26)

Case Nos. 19-4074/4075                                                                          6
Drake v. Johnson, d/b/a The Johnson Law Firm

Johnson’s contingent fee claim. Drake also filed a claim under the MSA’s Extraordinary Injury

Fund (EIF), although it is not clear whether that claim is still pending. The Drakes re-enrolled

after the MSA was modified and extended to cover U.S. claimants who had revision surgery prior

to January 31, 2015. For our purposes, the relevant provisions of the 2013 MSA remained

unchanged in the 2015 MSA.3

                           C. Arbitration of the Contingent Fee Claims

       Drake’s counsel proposed that the fee dispute be arbitrated before a Special Master under

the MSA. Instead, Johnson initiated an arbitration with JAMS in Dallas, Texas. Johnson also filed

a motion to compel arbitration, which was dismissed for lack of personal jurisdiction by the federal

court in Texas. The JAMS arbitration proceeded over Drake’s objections, and the arbitrator was

selected. The arbitration hearing was delayed for settlement discussions, but a settlement was

never finalized.

       So, in early 2016, Drake formally invoked the MSA’s arbitration process and a JAMS

arbitration was referred to Special Master Cathy Yanni. Johnson objected to the arbitration on

several grounds and also filed (and later dismissed) a second motion to compel arbitration in

federal court in Texas. That detour did not last long, however, because Special Master Yanni

quickly dismissed the arbitration for lack of jurisdiction. Johnson contends that the dismissal

should be understood as an implicit determination that the dispute was not arbitrable under the

MSA, although the brief order did not say that. Instead, the order stated that the Special Master

had been “unaware and not informed of the arbitration already proceeding before Judge Ashworth”

in the Dallas JAMS proceeding. The only reasons given are at least as likely to imply that the



3
 The district court noted that the MSAs and other forms are available on the website for the U.S.
ASR Hip Settlement. Drake, 2017 WL 6502489, at * 6 (citing www.usasrhipsettlement.com).



                                          EXHIBIT E-8
          Case: 19-4074 Document:
   Case: 1:13-dp-20140-JJH           36-2
                           Doc #: 51-5 Filed:Filed: 12/15/2020
                                               09/09/21           Page: 7 #: 1218
                                                         9 of 26. PageID                               (9 of 26)

Case Nos. 19-4074/4075                                                                          7
Drake v. Johnson, d/b/a The Johnson Law Firm

dismissal was based on deference to the first-filed and still pending Dallas JAMS proceeding. See

Drake, 757 F. App’x at 452 (describing this dismissal as based on lack of “jurisdiction over the

matter because it was already pending in a different forum with another JAMS arbitrator”).

          The arbitration hearing was finally conducted in the Dallas JAMS proceeding. The

arbitrator issued a final corrected arbitration award in Johnson’s favor in July 2016. The

arbitrator’s written decision rejected Drake’s defenses and counterclaims—including his claim of

fraudulent inducement, his defense that the ARA was terminated for “good cause,” and his

challenges to the contingent fee on the grounds of forfeiture and unconscionability. After finding

that Drake had breached the contract, Johnson was awarded: (1) a net contingency fee of 35% of

the Part A and Part B settlement awards in the amount of $196,612.50 (as well as on any future

EIF recovery); (2) a lien against Drake’s recovery to the extent of that fee; and (3) contract

damages for the attorney’s fees and costs incurred in the arbitration in the amount of $136,457 and

$20,145.47, respectively. Altogether, Johnson was awarded $353,214.97. That did not end the

matter.

                                    D. Federal Court Proceedings

          Johnson filed a new action for confirmation of the award in the Texas federal court, while

the Drakes countered with a motion filed in the Ohio MDL to vacate the arbitration award and

enforce the MSA. The Texas action was later transferred to Ohio to be decided with the MDL

proceedings. The Ohio district court decided to order the parties to arbitrate the fee dispute again

under the MSA. See Drake, 2017 WL 6502489, at *9. Johnson appealed, but this court remanded

with instructions for the district court to also decide the competing motions to confirm or vacate

the arbitration award. Drake, 757 F. App’x at 454. On remand, the district court vacated the

arbitration award because the arbitration “did not comport with the parties’ agreement” and




                                            EXHIBIT E-9
           Case: 19-4074 Document:
   Case: 1:13-dp-20140-JJH Doc #: 51-536-2
                                        Filed: Filed: 12/15/2020
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                                                                    PageID8 #: 1219                      (10 of 26)

Case Nos. 19-4074/4075                                                                            8
Drake v. Johnson, d/b/a The Johnson Law Firm

ordered the parties “to adhere to the arbitration procedures set forth in the 2015 [Master] Settlement

Agreement.” Drake, 2019 WL 4750608, at * 4. This appeal followed.

                                                 II.

       The Federal Arbitration Act restricts judicial review of an arbitration award to the statutory

grounds for vacating, modifying, or correcting an award under 9 U.S.C. §§ 10-11. See Hall Street

Assoc., LLC v. Mattel, Inc., 552 U.S. 576, 584 (2008). Drake abandoned his argument for vacatur

based on partiality, 9 U.S.C. § 10(a)(2), but the FAA did not prevent Drake from otherwise

challenging the validity of the agreement to arbitrate the fee dispute after the award. See PolyOne

Corp. v. Westlake Vinyls, Inc., 937 F.3d 692, 698 (6th Cir. 2019). Such a challenge could be

foreclosed by waiver if the party consented to the arbitration, but the district court found no waiver

here because the record was “replete with Drake’s assertions that the MDL is the proper forum for

resolution of any fee dispute.” Drake, 2017 WL 6502489, at *8. Johnson does not contest that

finding, so we assume that waiver does not apply here.

                                          A. Arbitrability

       Arbitration agreements are placed “on equal footing with all other contracts,” Buckeye

Check Cashing, Inc. v. Cardegna, 546 U.S. 440, 443 (2006), and must be enforced “according to

their terms,” Rent-A-Center, W., Inc. v. Jackson, 561 U.S. 63, 67 (2010). This also means that

“parties may agree to have an arbitrator decide not only the merits of a particular dispute but also

‘“gateway” questions of “arbitrability,” such as whether the parties have agreed to arbitrate or

whether their agreement covers a particular controversy.’” Henry Schein, Inc. v. Archer & White

Sales, Inc., 139 S. Ct. 524, 529 (2019) (quoting Rent-A-Center, 561 U.S. at 68-69). An agreement

to arbitrate questions of arbitrability may not be disregarded, but such a delegation requires “clear

and unmistakable” evidence that the parties agreed to have the arbitrator decide those issues. In




                                          EXHIBIT E-10
            Case: 19-4074 Document:
    Case: 1:13-dp-20140-JJH Doc #: 51-536-2
                                         Filed: Filed: 12/15/2020
                                                 09/09/21  11 of 26. Page:
                                                                     PageID9 #: 1220                    (11 of 26)

Case Nos. 19-4074/4075                                                                           9
Drake v. Johnson, d/b/a The Johnson Law Firm

re Automotive Parts Antitrust Litigation, 951 F.3d 377, 382 (6th Cir. 2020) (quoting Rent-A-

Center, 561 U.S. at 69 n.1).

       As alluded to earlier, Johnson contends that the Special Master’s dismissal of the second

JAMS proceeding was a binding determination that the fee dispute was not arbitrable under the

MSA. Assuming that the parties agreed to have JAMS Rules govern that arbitration, the Special

Master would have been delegated the authority “to determine jurisdiction and arbitrability issues

as a preliminary matter.” JAMS Rule 11(b). (No. 17-dp-20085, Page ID # 549.) Otherwise, the

MSA’s incorporation of the AAA’s Commercial Arbitration Rules could provide “clear and

unmistakable” evidence of an agreement to arbitrate questions of arbitrability. See Blanton v.

Domino’s Pizza Franchising LLC, 962 F.3d 842, 845-46 (6th Cir. 2020) (discussing incorporation

of AAA rules which provide that the arbitrator has “the power to rule on his or her own jurisdiction,

including any objections with respect to the existence, scope or validity of the arbitration

agreement”).4

       But, regardless of what may be implied from the Special Master’s order of dismissal,

“arbitrators derive their authority to resolve disputes only because the parties have agreed in

advance to submit such grievances to arbitration.” In re Automotive Parts, 951 F.3d at 382

(quoting AT&T Techs., Inc. v. Commc’ns Workers of Am., 475 U.S. 643, 648 (1986)). As a result,

even when issues of arbitrability have been committed to an arbitrator, courts must first decide any

disagreement concerning “the formation of the parties’ arbitration agreement.” Id. at 383 (quoting

Granite Rock Co. v. Int’l Bhd. of Teamsters, 561 U.S. 287, 298 (2010)). Indeed, this court has


4
  The same cannot be said for the ARA, which did not incorporate similar rules to govern any
arbitration. Nor does the ARA’s provision for arbitration of any dispute arising from the
“interpretation, performance, or breach of this Fee Agreement” provide comparably “clear and
unmistakable” evidence that the parties agreed to have the arbitrator decide questions of
arbitrability.



                                          EXHIBIT E-11
          Case: 19-4074 Document:
   Case: 1:13-dp-20140-JJH           36-2
                           Doc #: 51-5 Filed:Filed: 12/15/2020
                                               09/09/21  12 of 26.Page: 10 #: 1221
                                                                   PageID                               (12 of 26)

Case Nos. 19-4074/4075                                                                           10
Drake v. Johnson, d/b/a The Johnson Law Firm

expressly refused “to merge challenges to the validity of an agreement (‘whether it is legally

binding’) with challenges to the existence of an agreement in the first instance (‘whether it was in

fact agreed to’ or ‘was ever concluded’).” Id. at 385 (citations omitted); see also Blanton, 962

F.3d at 848-49 (explaining that the court must decide a non-signatory’s challenge to the existence

of an agreement to arbitrate even if the agreement incorporates the AAA Rules).

                                    B. Agreement to Arbitrate

       The starting place then is the existence of an arbitration agreement between the parties.

See Taylor v. Pilot Corp., 955 F.3d 572, 576 (6th Cir. 2020). State law governs the formation of

contracts, even though federal law determines whether the parties agreed to arbitrate questions of

arbitrability. Blanton, 962 F.3d at 846-47. The district court’s decisions regarding the existence

of a valid arbitration agreement are reviewed de novo. In re Automotive Parts, 951 F.3d at 381.

       The glaringly undisputed fact is that Johnson and Drake expressly agreed in the 2012 ARA

that “any dispute arising from the interpretation, performance, or breach of this Fee Agreement . .

. shall be resolved by final and binding arbitration conducted in Fort Worth, by any other arbitrator

that The Firm may choose.” The district court concluded, however, that this was no longer the

operative agreement because the parties had agreed to arbitrate their disputes under the provisions

of the MSA. The district court’s analysis rests on a mixture of contract principles, estoppel theory,

and its inherent authority to manage complex litigation. Drake, 2019 WL 4750608, at *3-4. We

address each in turn.

                                      1. Contract Principles

       The district court began with the unremarkable observation that Texas law recognizes that

parties may “amend their written arbitration agreement through a subsequent writing.” Drake,

2019 WL 4750608, at *3 (citing J.M. Davidson, Inc. v. Webster, 128 S.W.3d 223, 227-28 (Tex.




                                          EXHIBIT E-12
          Case: 19-4074 Document:
   Case: 1:13-dp-20140-JJH           36-2
                           Doc #: 51-5 Filed:Filed: 12/15/2020
                                               09/09/21  13 of 26.Page: 11 #: 1222
                                                                   PageID                              (13 of 26)

Case Nos. 19-4074/4075                                                                          11
Drake v. Johnson, d/b/a The Johnson Law Firm

2003)). Here, however, there is no subsequent writing between the parties agreeing to amend or

modify the arbitration provisions in the ARA. Instead, the district court concluded that Drake and

Johnson both “became subject to” the 2015 MSA (which extended the 2013 MSA) and, therefore,

they had “agreed to a contract which contained a binding arbitration provision.” Id. at *3 and *4.

That is not the same as an agreement between them to arbitrate their contingent fee disputes before

a Special Master pursuant to the MSA—rather than before an arbitrator of the Firm’s choosing in

Texas. A closer look at the MSA is necessary.

       Recall that the MSA is an agreement to establish a private settlement program, to which an

eligible U.S. Claimant may “opt in.” Neither Drake nor Johnson are “parties” to the MSA itself—

it is an agreement between DePuy and a committee of plaintiffs’ attorneys (that did not include

Johnson). The Drakes argue that the fee dispute with Johnson is arbitrable under the MSA, which

provides for arbitration of “any dispute that arises under or otherwise in connection with . . . any

U.S. Program Claim.” (MSA § 14.1.2.) But the Drakes are wrong to suggest that this definition

of what disputes are arbitrable is an answer to the distinct question of who has agreed to arbitrate

such disputes. See, e.g., In re Automotive Parts, 951 F.3d at 385.

       The MSA actually sheds light on who agreed to submit such disputes to arbitration in the

preceding subsection: “Each Party, and by submitting an Enrollment Form and Release, each

Enrolling U.S. Program Claimant and Enrolling Counsel, agrees that authority over the process

. . . resides with those Persons appointed pursuant to this Agreement to exercise that authority in

making the determinations with respect to claims submitted to the U.S. Program to do so with the

authority of Arbitrators under the Federal Arbitration Act.” (MSA § 14.1.1.) In other words, it is

the enrollment that operates as consent to the dispute resolution process with respect to that

enrolled U.S. Program claim.      As an enrolling claimant, Drake certainly consented to the




                                         EXHIBIT E-13
          Case: 19-4074 Document:
   Case: 1:13-dp-20140-JJH           36-2
                           Doc #: 51-5 Filed:Filed: 12/15/2020
                                               09/09/21  14 of 26.Page: 12 #: 1223
                                                                   PageID                               (14 of 26)

Case Nos. 19-4074/4075                                                                           12
Drake v. Johnson, d/b/a The Johnson Law Firm

arbitration process for any dispute arising under or in connection with his U.S. Program claim.

While Johnson enrolled other claimants in the settlement program and would be bound to arbitrate

disputes arising under or in connection with those U.S. Program claims, Johnson was not Drake’s

enrolling counsel (and did not represent him at any time after the MSA was approved). Although

Johnson was an enrolling counsel for other U.S. Program claimants, that did not contractually bind

Johnson to arbitrate disputes vis a vis Drake’s U.S. Program claim.

       Nor does the district court’s passing citation to Branch Law Firm LLP v. Osborn, 532

S.W.3d 13-18 (Tex. App. 2016), support a contrary conclusion. Unlike here, the MSA in that case

settled all of the Avandia claims belonging to clients of the “Participating Law Firms”; was signed

by Turner Branch, as a member of the Lead Participating Law Firm, on behalf of all “Participating

Law Firms”; and expressly bound “Each Participating Law Firm, including all its current and

future attorney members of or affiliated with each firm,” to the terms and conditions of the MSA.

Id. at 15 and 16. Those terms included an express agreement to arbitrate disputes, including those

“between or among Participating Law Firms and/or members of Participating Law Firms arising

out of or in connection with this Agreement.” Id. at 16. Because Osborn was an attorney employed

as an associate of a Participating Law Firm, he was contractually bound under agency principles

to the terms and conditions of the MSA—including the arbitration provision. Id. at 18.

       Section 14.1 of the MSA does not establish that Johnson and Drake amended their prior

agreement to arbitrate any fee disputes under the ARA. Nor have the Drakes identified any other

contractual basis that would bind Johnson to arbitrate his contingent fee claims under the MSA.

                                   2. Direct Benefits Estoppel

       The district court also invoked the doctrine of “direct benefits estoppel,” which is a type of

equitable estoppel that applies in the arbitration context. See In re Kellogg Brown & Root, Inc.,




                                         EXHIBIT E-14
          Case: 19-4074 Document:
   Case: 1:13-dp-20140-JJH           36-2
                           Doc #: 51-5 Filed:Filed: 12/15/2020
                                               09/09/21  15 of 26.Page: 13 #: 1224
                                                                   PageID                             (15 of 26)

Case Nos. 19-4074/4075                                                                         13
Drake v. Johnson, d/b/a The Johnson Law Firm

166 S.W.3d 732, 739 (Tx. 2005). “In the archetypal direct-benefits case, the party opposing

arbitration seeks to enforce the terms of an agreement with an arbitration clause.” Jody James

Farms, JV v. Altman Group, Inc., 547 S.W.3d 624, 637 (Tx. 2018). But Johnson sought to enforce

the terms of the Fee Agreement—not the MSA.

       “A person who has not agreed to arbitrate may nevertheless be compelled to do so when

the person ‘seeks, through the claim, to derive a direct benefit from the contract containing the

arbitration provision.’” In re Morgan Stanley & Co., Inc., 293 S.W.3d 182, 184 n.2 (Tx. 2009)

(quoting In re Kellogg Brown & Root, 166 S.W.3d at 741). The district court pointed out that

Johnson’s fee claims are “dependent upon a recovery by the Drakes,” which, in turn, is “squarely

based upon the Master Settlement Agreement.” Drake, 2019 WL 4750608, at *3. Even so,

Johnson’s contingent fee claims did not seek to enforce any terms of the MSA against Drake.

       The district court also relied on the fact that Johnson had represented numerous other

plaintiffs who settled their ASR-related claims “pursuant to one or more of the ASR Settlement

Agreements.” Id. at *4. The fact that he represented other plaintiffs in other MDL cases is not a

direct benefit for purposes of this estoppel doctrine. And, to the extent that Johnson’s contingent

fee claim may have derived indirect benefits from the MSA, the MSA required a “holdback” of

5% of attorney’s fees from the settlement award for the common benefit fund. (MSA § 4.1.8.)

                                      3. Inherent Authority

       The district court also made passing reference to the “MDL court’s ‘inherent authority’ to

create and enforce mechanisms which ‘bring management power to bear upon massive and

complex litigation.’” Drake, 2019 WL 4750608, at *3 (quoting In re Vioxx Prods. Liability

Litigation, 760 F. Supp. 2d 640, 648 (E.D. La. 2010)). The mechanism adopted in In re Vioxx

involved the MDL court’s assessment of common benefit attorney’s fees to compensate the lead




                                         EXHIBIT E-15
          Case: 19-4074 Document:
   Case: 1:13-dp-20140-JJH           36-2
                           Doc #: 51-5 Filed:Filed: 12/15/2020
                                               09/09/21  16 of 26.Page: 14 #: 1225
                                                                   PageID                               (16 of 26)

Case Nos. 19-4074/4075                                                                           14
Drake v. Johnson, d/b/a The Johnson Law Firm

counsel’s work in the MDL. The MSA in this case employed a similar common benefit fund

mechanism, but that was not challenged by the competing motions to confirm or vacate the

arbitration award.

       “[A]n MDL court has broad discretion to create efficiencies and avoid duplication—of both

effort and expenditure—across cases within the MDL.” In re Nat’l Prescription Opiate Litigation,

956 F.3d 838, 841 (6th Cir. 2020). The coordination of effort in the MDL here illustrates the

advantages that MDL litigation can offer. “But the law governs an MDL court’s decisions just as

it does a court’s decisions in any other case.” Id. at 844. For example, because § 1407 only

authorizes transfers for pretrial proceedings, the Supreme Court held that an MDL court could not

transfer such a case to itself for trial under 28 U.S.C. § 1404. See Lexecon Inc. v. Milberg Weiss

Bershad Hynes & Lerach, 523 U.S. 26, 40 (1998).

       The district court’s power to compel arbitration under the MSA is no greater in the MDL

context than in any other case. Substantive law dictates that “no matter how strong the federal

policy favors arbitration, arbitration is a matter of contract between the parties, and one cannot be

required to submit to arbitration a dispute which it has not agreed to submit to arbitration.” In re

Automotive Parts, 951 F.3d at 383 (citation omitted). It was error in this case to find that the

parties’ express agreement to arbitrate under the ARA was subsequently amended, modified, or

otherwise superseded by the arbitration provisions of the MSA.

                                          *      *       *

       The district court’s orders denying confirmation and vacating the arbitration award in

Johnson’s favor are REVERSED and the cases are REMANDED for further proceedings

consistent with this opinion.




                                          EXHIBIT E-16
           Case: 19-4074 Document:
    Case: 1:13-dp-20140-JJH           36-2
                            Doc #: 51-5 Filed:Filed: 12/15/2020
                                                09/09/21  17 of 26.Page: 15 #: 1226
                                                                    PageID                               (17 of 26)

Case Nos. 19-4074/4075                                                                            15
Drake v. Johnson, d/b/a The Johnson Law Firm

       CLAY, Circuit Judge, dissenting. This appeal raises the rather unusual question of how

a dispute is to be arbitrated, rather than the more commonplace issue of arbitrability per se. The

parties agree that an arbitrator must decide to what extent, if any, an attorney is entitled to a fee

contingent on his former client’s settlement in a multi-district litigation (“MDL”). However, for

over six years, in four federal cases and two arbitrations, as well as for the second time before this

Court, that attorney and the client who terminated him in 2012 have vigorously litigated whether

the applicable arbitration procedures are determined by reference to their bilateral Attorney

Representation Agreement (“ARA”) or a Master Settlement Agreement (“MSA”) reached in the

MDL.1 The district court did not err in concluding that the attorney consented to arbitrate disputes

under the MSA or that his claim for a contingent fee was encompassed by that agreement. The

majority holds otherwise and concludes that, because the attorney did not represent his former

clients when they entered into the MSA, he did not consent to arbitrate this dispute under it.

Because that reasoning contravenes the explicit terms of the MSA, I respectfully dissent.

       I.      Background

       William S. Drake and his wife Andrea K. Drake (“the Drakes”) retained attorney Steven

M. Johnson to represent them in claims relating to William’s articular surface replacement

(“ASR”) hip implant.2 William underwent his hip replacement in or before 2008. The

manufacturer, DePuy Orthopaedics, recalled the ASR hip in 2010 due to widespread failures of




1
 All references to the MSA are to the 2015 MSA, rather than the 2013 version, which the majority
recognizes is unchanged for the issues relevant to this appeal. Citations are to the complete copy
available at the website indicated by the district court, www.usasrhipsettlement.com. Drake v.
DePuy Orthopaedics, Inc. (“Drake I”), Case No. 1:13-dp-20140-JJH, 2017 WL 6502489, at *6
(N.D. Ohio Dec. 19, 2017).
2
 While it appears that only William was a party to the ARA, William and Andrea are referred to
collectively in the district court’s order, and that practice is followed here.



                                          EXHIBIT E-17
            Case: 19-4074 Document:
     Case: 1:13-dp-20140-JJH           36-2
                             Doc #: 51-5 Filed:Filed: 12/15/2020
                                                 09/09/21  18 of 26.Page: 16 #: 1227
                                                                     PageID                            (18 of 26)

Case Nos. 19-4074/4075                                                                          16
Drake v. Johnson, d/b/a The Johnson Law Firm

the device. Numerous suits followed, and the Judicial Panel on Multidistrict Litigation centralized

the actions involving the recalled devices in the Northern District of Ohio.

          Johnson was hired by the Drakes in January 2012 pursuant to an Attorney Representation

Agreement. The engagement was limited to claims relating to the DePuy ASR hip device and

provided that Johnson would be compensated by a 40% contingent fee, exclusively out of a share

of the recovery, if any, “by way of settlement, judgment or otherwise . . . .” (ARA, R. 10-4, Page

ID #267.) 3 Johnson was granted a lien on the ASR cause of action, and the parties agreed that

“any dispute arising from the interpretation, performance, or breach of the” ARA “shall be resolved

by final and binding arbitration conducted in Fort Worth, by any other arbitrator that The Firm

may choose.” (Id.) The ARA was signed after approximately fifty-seven calls and letters to the

Drakes over nearly sixteen months by Johnson’s law firm. The last communication sent by Johnson

stated “[f]ailing to contact us may result in the closing of your file and the loss of your rights.”

(Corr. Final Award, R. 10-3, Page ID #252.)

          Less than a year later, the Drakes terminated Johnson’s representation and retained other

counsel. On November 28, 2012, Andrea called Johnson’s law firm to express some doubts about

maintaining their representation and explain that the Drakes might hire another lawyer. On

November 30, 2012, Johnson filed a document captioned as a “Short Form Complaint for DePuy

Orthopaedics, Inc. ASR Hip Implant Products Liability Litigation,” in the Northern District of

Ohio. That same day, Johnson was notified that the Drakes had hired another attorney to represent

them in connection with ASR hip claims. Johnson responded to the Drakes’ new counsel by giving

notice of a claimed lien of 40% of any amount recovered in the DePuy suit. The Drakes’

subsequent counsel filed an ASR hip case against DePuy and related entities on January 24, 2013.


3
    Citations to the district court record (“R.”) refer to Case No. 1:13-dp-20140-JJH (N.D. Ohio).



                                           EXHIBIT E-18
           Case: 19-4074 Document:
    Case: 1:13-dp-20140-JJH           36-2
                            Doc #: 51-5 Filed:Filed: 12/15/2020
                                                09/09/21  19 of 26.Page: 17 #: 1228
                                                                    PageID                              (19 of 26)

Case Nos. 19-4074/4075                                                                           17
Drake v. Johnson, d/b/a The Johnson Law Firm

The case was transferred to the Northern District of Ohio for MDL consolidated proceedings. The

action initiated by Johnson on the Drakes’ behalf was dismissed pursuant to stipulation on June

26, 2013. The parties “recognize[d] that the Johnson Law firm [sic] has asserted a claim on any

recovery [the Drakes] may make for any injuries related to the DePuy ASR for the full amount of

all monies that JLF is entitled to under the terms of its contract with [the Drakes] and that this

dismissal shall have no effect on those claims.” (Stipulation of Dismissal, R. 11-2, Page ID #361.)

       A global settlement was reached between DePuy and a committee of plaintiffs’ attorneys

in November 2013. Drake v. DePuy Orthopaedics, Inc. (“Drake II”), 757 F. App’x 449, 451 (6th

Cir. 2018). The Drakes joined this settlement shortly thereafter. Id. They settled a portion of their

suit against DePuy for $561,750, and an Extraordinary Injury Fund claim is still possibly

outstanding. Id. at 452 n.7.

       As early as June 30, 2014, the Drakes’ current counsel proposed to resolve the dispute over

Johnson’s contingent fee claim according to the arbitration procedures provided in the MSA.

Johnson refused. Instead, on July 13, 2014, he initiated an arbitration with JAMS, a private

alternative dispute resolution provider, in Dallas pursuant to the ARA (“Dallas arbitration”), and

the next day filed a suit to compel arbitration in the Northern District of Texas. The federal suit

was dismissed for lack of personal jurisdiction on November 25, 2014. In early 2016, the Drakes

initiated an arbitration pursuant to the terms of the MDL MSA with Special Master Cathy Yanni.

Special Master Yanni was a member of JAMS, like the Dallas arbitrator, and dismissed the matter

upon being informed of the ongoing JAMS proceeding on March 9, 2016.4 Shortly thereafter,


4
 Johnson argues that implicit in Special Master Yanni’s dismissal is a binding determination that
that his claims do not come within the scope of the MSA. However, Special Master Yanni’s order
makes no reference to the MSA, and instead appears to base the jurisdictional determination
entirely on the fact that another JAMS arbitration, the Dallas arbitration, was already proceeding.
See Drake II, 757 F. App’x at 452.



                                          EXHIBIT E-19
          Case: 19-4074 Document:
   Case: 1:13-dp-20140-JJH           36-2
                           Doc #: 51-5 Filed:Filed: 12/15/2020
                                               09/09/21  20 of 26.Page: 18 #: 1229
                                                                   PageID                               (20 of 26)

Case Nos. 19-4074/4075                                                                           18
Drake v. Johnson, d/b/a The Johnson Law Firm

Johnson dismissed another suit to compel arbitration that he had filed in the Northern District of

Texas.

         On June 22, 2016, the Dallas arbitrator found in favor of Johnson and awarded him a net

35% contingency fee from the Drakes’ DePuy settlement awards in the amount of $196,612.50,

35% of any future recovery, a lien on recovered claims, attorney fees in the amount of $136,457,

and arbitration costs in the amount of $20,145.47. The same day, the Drakes filed a motion in the

Northern District of Ohio to enforce the MSA and vacate the award. On July 7, 2016, Johnson

filed another suit in the Northern District of Texas, this time to confirm the arbitration award. On

December 20, 2017, the district court for the Northern District of Texas transferred Johnson’s latest

case to the Northern District of Ohio for possible consolidation with the Drakes’ pending suit.

         Just the day prior, on December 19, 2017, the district court had granted the Drakes’ motion

to enforce the MSA and had declined to address their motion to vacate the arbitration award. Drake

I, 2017 WL 6502489, at *9. Johnson appealed that decision, but we found we lacked jurisdiction

because there was no final order under 28 U.S.C. § 1291 or an interlocutory order appealable under

the Federal Arbitration Act (“FAA”), 9 U.S.C. § 16(a)(1)(E). Drake II, 757 F. App’x at 452–53.

We directed the district court to consider Johnson’s application to confirm the arbitration award

and the Drakes’ motion to vacate the same. Id. at 453–54.

         In a December 30, 2019 memorandum opinion and order the district court denied Johnson’s

motion to confirm the Dallas arbitration award, granted the Drakes’ motion to vacate the same,

and directed the parties to pursue arbitration pursuant to the MSA. Drake v. DePuy Orthopaedics,

Inc. (“Drake III”), Case No. 1:13-dp-20140-JJH, 2019 WL 4750608, at *4 (N.D. Ohio Sept. 30,

2019). Johnson timely appealed.




                                          EXHIBIT E-20
            Case: 19-4074 Document:
     Case: 1:13-dp-20140-JJH           36-2
                             Doc #: 51-5 Filed:Filed: 12/15/2020
                                                 09/09/21  21 of 26.Page: 19 #: 1230
                                                                     PageID                                  (21 of 26)

Case Nos. 19-4074/4075                                                                               19
Drake v. Johnson, d/b/a The Johnson Law Firm

          II.    Discussion

          This Court reviews findings of fact for clear error and questions of law de novo in appeals

of district court decisions either vacating or confirming an arbitrator’s award under the FAA.

Samaan v. Gen. Dynamics Land Sys., Inc., 835 F.3d 593, 599 (6th Cir. 2016). A district court must

issue an order confirming an arbitrator’s award “unless the award is vacated, modified, or corrected

as prescribed in [9 U.S.C. §§] 10 and 11 . . . .” 9 U.S.C. § 9. Section 10 provides the exclusive

grounds for vacatur under the FAA. See Hall Street Assocs., L.L.C. v. Mattel, Inc., 552 U.S. 576,

584 (2008). As the majority recognizes, the Drakes have abandoned their argument for vacatur on

the basis of partiality under § 10(a)(2). Since there is no allegation of fraud, § 10(a)(1), or arbitrator

misconduct, § 10(a)(3), the award in this case may be vacated only if “the arbitrators exceeded

their powers, or so imperfectly executed them that a mutual, final, and definite award upon the

subject matter submitted was not made.” 9 U.S.C. § 10(a)(4).

          As the Supreme Court has recognized, “the first principle that underscores all of our

arbitration decisions [is that a]rbitration is strictly a matter of consent, and thus is a way to resolve

those disputes—but only those disputes—that the parties have agreed to submit to arbitration.”

Granite Rock Co. v. Int’l Brotherhood of Teamsters, 561 U.S. 287, 299 (2010) (internal quotation

marks and citations omitted). As the majority correctly recognizes, neither the Drakes nor Johnson

were signatories to the MSA itself—it was an agreement between DePuy and a committee of

plaintiffs’ attorneys of which Johnson was not a member.5 However, the MSA also provides that

certain other parties may agree to submit disputes to arbitration as delineated in that agreement.

The relevant provision provides:

          Each Party [i.e., DePuy and plaintiffs’ counsel committee] and, by submitting an
          Enrollment Form and Release, each Enrolling U.S. Program Claimant and

5
    Johnson had applied to the district court for an appointment to the committee.



                                            EXHIBIT E-21
           Case: 19-4074 Document:
    Case: 1:13-dp-20140-JJH           36-2
                            Doc #: 51-5 Filed:Filed: 12/15/2020
                                                09/09/21  22 of 26.Page: 20 #: 1231
                                                                    PageID                           (22 of 26)

Case Nos. 19-4074/4075                                                                         20
Drake v. Johnson, d/b/a The Johnson Law Firm

       Enrolling Counsel, agrees that authority over the process contemplated by the U.S.
       Program, including any Claims submitted under the U.S. Program, resides with
       those Persons appointed pursuant to this Agreement to exercise that authority, as
       such authority is specified in this Agreement and that the Claims Administrator,
       Claims Processor and Special Masters in making the determinations with respect to
       claims submitted to the U.S. Program do so with the authority of Arbitrators under
       the Federal Arbitration Act and their decision, except as subject to review under the
       Agreement, are final, binding, and Non-Appealable.

(MSA § 14.1.1)

       Both the Drakes and Johnson qualify under this section and are therefore required to submit

qualifying disputes to the arbitrators designated under the terms of the MSA. Evidence in the

record shows that the Drakes submitted a release of claims and enrolled in the U.S. Program (i.e.,

the settlement). Accordingly, they qualify as “Enrolled U.S. Program Claimants,” as defined by

MSA § 1.2.25.2. Similarly, Johnson is an “Enrolling Counsel” under the MSA since that term is

defined as “the Primary Law Firm or other Counsel who files an Enrollment Form on behalf of

any” claimant. (MSA § 1.2.26)6 The district court found “[t]he fact that Johnson no longer

represented the Drakes at the time they entered into the 2013 Settlement Agreement does not alter

the conclusion that Johnson’s claim for his alleged lien is governed by the terms of that and

subsequent Settlement Agreements. Johnson represents numerous plaintiffs who settled their

claims pursuant to one or more of the ASR Settlement Agreements.” Drake III, 2019 WL 4750608,

at *4. Under the terms of the MSA, it is irrelevant that Johnson did not enroll the Drakes in

particular. Therefore, Section 14.1 of the MSA establishes that Johnson and the Drakes both agreed

“that authority over the process contemplated by the U.S. Program, including any Claims

submitted under the U.S. Program, resides with those Persons appointed pursuant to this



6
  “Counsel” is defined as “with respect to any particular Person, a lawyer and/or law firm who
represents such Person pursuant to a written agreement, or who has an Interest in such Person’s
Claim Connected with ASR Hip Implants.” (MSA § 1.2.19)



                                         EXHIBIT E-22
          Case: 19-4074 Document:
   Case: 1:13-dp-20140-JJH           36-2
                           Doc #: 51-5 Filed:Filed: 12/15/2020
                                               09/09/21  23 of 26.Page: 21 #: 1232
                                                                   PageID                              (23 of 26)

Case Nos. 19-4074/4075                                                                          21
Drake v. Johnson, d/b/a The Johnson Law Firm

Agreement to exercise that authority, as such authority is specified in this Agreement . . . .” (MSA

§ 14.1.1)

       The majority concludes that both the Drakes and Johnson agreed to arbitrate disputes

related to the ASR settlement under the terms of the MSA, but only disputes regarding certain

ASR hip claims. Specifically, the majority holds that while Johnson agreed to arbitrate disputes

relating to claimants he enrolled in the settlement program, by enrolling those clients he did not

thereby agree to arbitrate his contingent fee dispute with the Drakes, whom he did not enroll in the

settlement or represent subsequent to the approval of the MSA.

       That conclusion is irreconcilable with the terms of the agreement. As the majority

recognizes, the MSA provides for the arbitration of “any dispute that arises under or otherwise in

connection with . . . any U.S. Program claim.” (MSA § 14.1.2) Johnson’s claim for 35% of the

Drakes’ settlement clearly qualifies under that expansive language. The Drakes as “Enrolling U.S.

Program Claimants” and Johnson as “Enrolling Counsel” “agree[d] that authority over the process

contemplated by the U.S. Program . . . . resides with those Persons appointed pursuant” to the

MSA “as such authority is specified in” the MSA. (MSA § 14.1.1) That authority over “any dispute

that arises under or otherwise in connection with . . . any U.S. Program Claim” encompasses the

power to arbitrate the instant dispute. (MSA § 14.1.2) There is nothing in the text of the MSA to

support the majority’s interpretation that enrollment in the settlement program operates as consent

to arbitrate only certain disputes relating to certain settlement claims.

       A Texas Court of Appeals decision concerning a fee dispute between an attorney and his

former law firm, Branch Law Firm L.L.P. v. Osborn, 532 S.W.3d 1, 13–18 (Tex. App. 2016),

discussed by the majority is consistent with this analysis. In that case, the court determined the

attorney was required to arbitrate according to a master settlement agreement to which he was not




                                           EXHIBIT E-23
          Case: 19-4074 Document:
   Case: 1:13-dp-20140-JJH           36-2
                           Doc #: 51-5 Filed:Filed: 12/15/2020
                                               09/09/21  24 of 26.Page: 22 #: 1233
                                                                   PageID                              (24 of 26)

Case Nos. 19-4074/4075                                                                          22
Drake v. Johnson, d/b/a The Johnson Law Firm

a signatory because he was a “Participating Law Firm,” as defined under the applicable agreement.

Id. at 17–18. The majority incorrectly states that the court’s holding depended upon agency

principles. While his former law firm made agency-based arguments, the court concluded that the

attorney was bound by the agreement to arbitrate because the master settlement agreement’s

“definition of a Participating Law Firm encompasse[d]” him. Id. at 18. Just like the attorney there,

Johnson meets the relevant agreement’s applicable definition for counsel bound to arbitrate

disputes.

       Accordingly, there are two contracts that cover Johnson’s contingent fee claim: the ARA

between the Drakes and Johnson, and the MSA. “In the context of multiple contracts, this court

has adopted a more narrow test of arbitrability, examining which agreement, ‘determines the scope

of’ the contested obligations.” Nestle Waters N. Am., Inc. v. Bollman, 505 F.3d 498, 504 (6th Cir.

2007). The majority did not evaluate this case under Nestle Waters because it found there was only

one relevant contract, the ARA. Nevertheless, the analysis that it does undertake supports the

conclusion that the scope of Johnson’s claim is determined by the MSA and therefore must be

arbitrated according to its terms. The majority notes “to the extent that Johnson’s contingent fee

claim may have derived indirect benefits from the MSA, the MSA provided a ‘holdback’ of 5% of

attorney’s fees from the settlement award for the common benefit fund.” Ante at 13 (citing MSA

§ 4.1.8). This so-called holdback was adopted by the Dallas arbitrator, who, despite recognizing

that under the ARA the Drakes agreed to pay a contingent fee of 40%, only awarded Johnson a

“net” 35% fee because “the MDL judge assessed a ‘common benefit’ fee applicable to all claimant

attorney fee awards.” (Corrected Final Award, R. 10-3, Page ID #260.)

       As the district court stated, “[p]ermitting a party to any contract—to say nothing of one

governing an area as broad and complex as the area this MDL addresses—to choose which




                                         EXHIBIT E-24
          Case: 19-4074 Document:
   Case: 1:13-dp-20140-JJH           36-2
                           Doc #: 51-5 Filed:Filed: 12/15/2020
                                               09/09/21  25 of 26.Page: 23 #: 1234
                                                                   PageID                              (25 of 26)

Case Nos. 19-4074/4075                                                                          23
Drake v. Johnson, d/b/a The Johnson Law Firm

provisions of that agreement it will abide by, and which it won’t, simply is untenable.” Drake III,

2019 WL 4750608, at *4; see also Stratton v. Portfolio Recovery Assocs., LLC, 706 F. App’x 840,

846 (6th Cir. 2017) (recognizing that a party “cannot pick and choose which provisions of [a]

contract are enforceable” (citation omitted)). Johnson himself stipulated to the 5% common benefit

fee required by the MSA in the Dallas arbitration. This means that the scope of the Drakes’

“contested obligations” according to the majority, the Dallas arbitrator, and Johnson himself was

determined by the MSA. Accordingly, arbitration of Johnson’s contingent fee claim must follow

the procedures provided in that agreement under Nestle Waters.

        There is no suggestion that the Dallas arbitration proceeded according to the terms required

by the MSA. The MSA designated three special masters “to oversee the administration of claims

for benefits and to make final and binding determinations under this Agreement with the authority

of an Arbitrator under the Federal Arbitration Act.” (MSA § 12.4.2) None of those so designated

were the Dallas arbitrator. “When an arbitrator reaches a question not committed to him by the

parties, he acts outside of his authority such that an order vacating such an award is appropriate.”

Totes Isotoner Corp. v. Int’l Chem. Workers Union Council/UFCW Local 664C, 532 F.3d 405,

415 (6th Cir. 2008) (citations omitted); see also 9 U.S.C. § 5 (“If in the agreement provision be

made for a method of naming or appointing an arbitrator or arbitrators or an umpire, such method

shall be followed . . . .”).

        The district court’s refusal to confirm the Dallas arbitration, decision to vacate the same,

and order to the parties to adhere to the arbitration procedures set forth in the MSA were correct.

Given that Johnson consented to abide by the arbitration provisions in the MSA through his

representation of settling DePuy Orthopaedics claimants, I need not address the majority’s analysis




                                          EXHIBIT E-25
          Case: 19-4074 Document:
   Case: 1:13-dp-20140-JJH           36-2
                           Doc #: 51-5 Filed:Filed: 12/15/2020
                                               09/09/21  26 of 26.Page: 24 #: 1235
                                                                   PageID                               (26 of 26)

Case Nos. 19-4074/4075                                                                           24
Drake v. Johnson, d/b/a The Johnson Law Firm

relating to direct benefits estoppel or the inherent authority of the district court to manage an MDL

before concluding that the district court’s orders should be affirmed.

       III.    Conclusion

       Because Johnson consented to the arbitration procedures outlined in the MSA for disputes

relating to the ASR hip MDL settlement, I would affirm the orders of the district court refusing to

confirm the Dallas arbitration award, vacating the same, and directing the parties to proceed with

arbitration pursuant to the MSA. Accordingly, I respectfully dissent.




                                          EXHIBIT E-26
